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                         EXHIBIT 16
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                                                    VARIATIONS IN STATE INTENTIONAL/NEGLIGENT MISREPRESENTATION LAWS

                           Intentional                     Negligent                                                                                        Scienter                                                                    Other Defenses &
                                                                                                                      Reliance/Justifiable                Requirement             Standard of Proof               Damages &                 Features
   Jurisdiction         Misrepresentation              Misrepresentation               Statute of Limitations
                                                                                                                      Reliance/Causation                                          for Fraud Claims                 Remedies
                            Elements                       Elements
ALABAMA              “The elements of a claim of    “The elements of a claim of      “Fraud actions are governed   “A plaintiff must prove that       Intentional                “In order for [tort         For negligent fraud
                     intentional                    negligent misrepresentation      by two-year statute of        he or she reasonably relied on     Misrepresentations         claim] of fraudulent-       only compensatory
                     misrepresentation under        are: (1) a misrepresentation     limitations under Alabama     the defendant's                    have to be made            suppression to go to a      damages.
                     Alabama law are (1) a          (2) concerning a material        law.”                         misrepresentation in order to      willfully to deceive or    jury, [plaintiff] must      Lewis v. First Tuskegee
                     misrepresentation about a      fact (3) justifiably relied on                                 recover damages for fraud.”        recklessly w/o             demonstrate by clear        Bank, 964 So. 2d 36, 42
                     material fact, (2) made        by the plaintiff (4) and loss    Jarzen v. Wright, 679 So.2d                                      knowledge.                 and convincing              (Ala. Civ. App. 2007).
                     willfully to deceive or        or damages proximately           1086, 1088 (Ala. Civ. App.    AmerUs Life Ins. Co. v.                                       evidence each of the
                     recklessly without             caused by such                   1996); Ala. Code § 6-2-38.    Smith, 5 So. 3d 1200, 1207         McGregor v. Landmark       following elements . . .    In fraud actions,
                     knowledge, (3) justifiably     misrepresentation.”                                            (Ala. 2008)                        Chevrolet, Inc., 596 So.   .” ITT Specialty Risk       recovery is under the
                     relied upon by the plaintiff                                                                                                     2d 909, 911 (Ala.          Servs., Inc. v. Barr, 842   benefit of the bargain
                     under the circumstances,       Shields v. Wash. Nat'l Ins.                                    “Alabama law is clear that         1992).                     So.2d 638 (Ala. 2002).      rule.
                     and (4) which caused           Co., 375 F. Supp. 2d 1346,                                     reasonable reliance is an                                                                 Reynolds v. Mitchell,
                     damages by proximate           1350 (M.D. Ala. 2005).                                         essential element of a                                        Preponderance for           529 So. 2d 227, 233
                     result.”                                                                                      negligent misrepresentation                                   negligent                   (Ala. 1988).
                                                                                                                   claim, just as it is for a fraud                              misrepresentation.
                     McGregor v. Landmark                                                                          or reckless misrepresentation                                                             For intentional fraud,
                     Chevrolet, Inc., 596 So. 2d                                                                   claim.”                                                       Gilchrist Timber Co. v.     upon a finding of intent
                     909, 911 (Ala. 1992).                                                                                                                                       ITT Rayonier Inc., 472      to deceive or defraud
                                                                                                                   Hardy v. Jim Walter Homes,                                    F.3d 1329, 1330 (11th       by clear and convincing
                                                                                                                   Inc., 2008 U.S. Dist. LEXIS                                   Cir. Fla. 2006.             evidence, punitive
                                                                                                                   26842 (S.D. Ala. Apr. 1,                                                                  damages may be
                                                                                                                   2008).                                                                                    awarded if the conduct
                                                                                                                                                                                                             was “outrageous.”

                                                                                                                                                                                                             Ala. Code § 6-11-20(a).




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                                                      VARIATIONS IN STATE INTENTIONAL/NEGLIGENT MISREPRESENTATION LAWS

                           Intentional                       Negligent                                                                                   Scienter                                                                Other Defenses &
                                                                                                                       Reliance/Justifiable            Requirement           Standard of Proof            Damages &                  Features
   Jurisdiction         Misrepresentation                Misrepresentation            Statute of Limitations
                                                                                                                       Reliance/Causation                                    for Fraud Claims              Remedies
                            Elements                         Elements
ALASKA               The elements of intentional      “The elements of negligent    “Claims for fraud and           Justifiable reliance must be   For intentional          “The plaintiff in a      Nominal damages not
                     misrepresentation have been      misrepresentation are “(1)    misrepresentations are tort     shows for both.                misrepresentation the    misrepresentation case   available for
                     identified as “(1) a             the party accused of          claims, and thus, are subject                                  misrepresentation must   bears the burden of      international
                     misrepresentation of fact or     misrepresentation must        to two-year statute of          Willard v. Khotol Servs.       have been made           establishing by a        misrepresentation.
                     intention, (2) made              have made the statement in    limitations.”                   Corp., 171 P.3d 108, 119       fraudulently with        preponderance of the     Punitive damages may
                     fraudulently (i.e., with         the course of his business,                                   (Alaska 2007); Anchorage       scienter and for the     evidence that the        be awarded if it is
                     scienter), (3) for the purpose   profession or employment;     Bauman v. Day, 892 P.2d         Chrysler Ctr., Inc. v.         purpose of inducing      misrepresentation was    shown by clear and
                     of inducing another to act in    (2) the representation must   817, 825 (Alaska 1995).         DaimlerChrysler Motors         another to rely.         material.” Diblik v.     convincing evidence
                     reliance, (4) with justifiable   supply "false information";                                   Corp., 221 P.3d 977, 987                                Marcy, 166 P.3d 23, 28   that the defendant’s
                     reliance by the recipient, (5)   (3) the plaintiff must show                                   (Alaska 2009).                 Anchorage Chrysler       (Alaska 2007).           intentional conduct was
                     causing loss.”                   justifiable reliance on the                                                                  Ctr., Inc.                                        outrageous.
                                                      false information; and (4)                                                                   v.DaimlerChrysler                                 Anchorage Chrysler
                     Anchorage Chrysler Ctr.,         the accused party must                                                                       Motors Corp., 221 P.3d                            Ctr., Inc. v.
                     Inc. v. DaimlerChrysler          have failed to exercise                                                                      977, 987 (Alaska                                  DaimlerChrysler
                     Motors Corp., 221 P.3d           reasonable care or                                                                           2009).                                            Motors Corp., 221 P.3d
                     977, 987 (Alaska 2009).          competence in obtaining or                                                                                                                     977, 997 (Alaska
                                                      communicating the                                                                                                                              2009).
                                                      information.” An omission                                                                                                                      “Although not briefed
                                                      can be a false statement                                                                                                                       or argued by the parties
                                                      where there is duty to                                                                                                                         we note that as to the
                                                      disclose. “                                                                                                                                    negligent
                                                                                                                                                                                                     misrepresentation
                                                      Willard v. Khotol Servs.                                                                                                                       claim, the Brattens
                                                      Corp., 171 P.3d 108, 119                                                                                                                       were entitled to be
                                                      (Alaska 2007)                                                                                                                                  placed in the position
                                                                                                                                                                                                     they would now be in
                                                                                                                                                                                                     had they received
                                                                                                                                                                                                     accurate advice, so long
                                                                                                                                                                                                     as the damages were
                                                                                                                                                                                                     reasonable and certain”
                                                                                                                                                                                                     Orsini v. Bratten, 713
                                                                                                                                                                                                     P.2d 791, 794 (Alaska
                                                                                                                                                                                                     1986).
                                                                                                                                                                                                     For intentional
                                                                                                                                                                                                     misrepresentation
                                                                                                                                                                                                     benefit of the bargain is
                                                                                                                                                                                                     sued to calculate
                                                                                                                                                                                                     damages.
                                                                                                                                                                                                     Turnbull v. La Rose,
                                                                                                                                                                                                     702 P.2d 1331, 1336
                                                                                                                                                                                                     (Alaska 1985).


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                                                      VARIATIONS IN STATE INTENTIONAL/NEGLIGENT MISREPRESENTATION LAWS

                           Intentional                       Negligent                                                                                        Scienter                                                                 Other Defenses &
                                                                                                                          Reliance/Justifiable              Requirement             Standard of Proof              Damages &               Features
   Jurisdiction         Misrepresentation                Misrepresentation             Statute of Limitations
                                                                                                                          Reliance/Causation                                        for Fraud Claims                Remedies
                            Elements                         Elements
ARIZONA              “A claim for fraud requires       “The elements of negligent    For negligent                     Justifiable reliance necessary   “A claim for fraud         “A claim for fraud         Fraud may result in
                     proof of nine elements by        misrepresentation in           misrepresentation its two         for both.                        requires proof of: (4)     requires proof of nine     punitive damages.
                     clear and convincing             Arizona are: (1) one who in    years. Ariz. Rev. Stat. § 12-                                      the speaker's              elements by clear and      Jenkins v. Skelton, 21
                     evidence: (1) a                  the course of his business,    542. An intentional               Comerica Bank v. Mahmoodi,       knowledge of its falsity   convincing evidence . .    Ariz. 663, 192 P. 249
                     representation; (2) its          profession or employment       misrepresentation claim must      229 P.3d 1031, 1033-             or ignorance of its        . .” Comerica Bank v.      (1920).
                     falsity; (3) its materiality;    or in any other transaction    be brought within three years     34 (Ariz. Ct. App. 2010);        truth; (5) the speaker's   Mahmoodi, 229 P.3d
                     (4) the speaker's knowledge      in which it has a financial    after the cause of action         Salgado v. America's             intent that it be acted    1031, 1033 (Ariz. Ct.      Damages for fraud are
                     of its falsity or ignorance of   interest, (2) supplies false   accrues. Ariz. Rev. Stat. § 12-   Servicing Co., 2011 U.S.         upon by the recipient in   App. 2010).                recovered under the
                     its truth; (5) the speaker's     information, (3) for the       543. The statutes of              Dist. LEXIS 99727, 10-11         the manner reasonably                                 benefit of the bargain
                     intent that it be acted upon     guidance of others in their    limitations for both negligent    (D. Ariz. Sept. 6, 2011).        contemplated.”             Preponderance for          rule.
                     by the recipient in the          business transactions,         and intentional                                                    Comerica Bank v.           negligent
                     manner reasonably                which, (4) causes pecuniary    misrepresentation begin to                                         Mahmoodi, 229 P.3d         misrepresentation.         Carrel v. Lux, 101
                     contemplated; (6) the            damage (5) based on the        run when the plaintiff knew                                        1031, 1033-34 (Ariz.                                  Ariz. 430, 436 (Ariz.
                     hearer's ignorance of its        other party's justifiable      or by reasonable diligence                                         Ct. App. 2010).            St. Joseph's Hosp. &       1966).
                     falsity; (7) the hearer's        reliance on the information    should have known of the                                                                      Medical Ctr. v. Reserve
                     reliance on its truth; (8) the   and (6) fails to exercise      misrepresentation. The                                                                        Life Ins. Co., 154 Ariz.   “The damages
                     hearer's right to rely on it;    reasonable care or             discovery rule is applicable to                                                               307, 312 (Ariz. 1987).     recoverable for a
                     (9) the hearer's consequent      competence in                  claims for intentional                                                                                                   negligent
                     and proximate injury.”           communicating the              misrepresentation and to                                                                                                 misrepresentation are
                     Comerica Bank v.                 information.”                  Ariz. Rev. Stat. § 12-542                                                                                                those necessary to
                     Mahmoodi, 229 P.3d 1031,         Salgado v. America's           claims.                                                                                                                  compensate the
                     1033-34 (Ariz. Ct. App.          Servicing Co., 2011 U.S.       Bank of the West v. Estate of                                                                                            plaintiff for the
                     2010).                           Dist. LEXIS 99727, 10-11       Leo, 231 F.R.D. 386, 390 (D.                                                                                             pecuniary loss to him
                                                      (D. Ariz. Sept. 6, 2011).      Ariz. 2005).                                                                                                             of which the
                                                                                                                                                                                                              misrepresentation is a
                                                                                                                                                                                                              legal cause …”

                                                                                                                                                                                                              Standard Chtd. PLC v.
                                                                                                                                                                                                              Price Waterhouse, 190
                                                                                                                                                                                                              Ariz. 6, 35 (Ariz. Ct.
                                                                                                                                                                                                              App. 1996)




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                                                     VARIATIONS IN STATE INTENTIONAL/NEGLIGENT MISREPRESENTATION LAWS

                           Intentional                      Negligent                                                                                      Scienter                                                                     Other Defenses &
                                                                                                                       Reliance/Justifiable              Requirement             Standard of Proof              Damages &                   Features
   Jurisdiction         Misrepresentation               Misrepresentation             Statute of Limitations
                                                                                                                       Reliance/Causation                                        for Fraud Claims                Remedies
                            Elements                        Elements
ARKANSAS             “There are five elements to     Doesn’t exist in Arkansas.     “The applicable statute of      “There are five elements to      “There are five            “To prove fraud, the       Punitive damages            Common law fraud
                     the tort of fraud,                                             limitations on fraud and        the tort of fraud,               elements to the tort of    plaintiff must establish   available if                claims which result in
                     misrepresentation, or deceit:   “We decline to recognize       deceit is three years.” Tyson   misrepresentation, or deceit:    fraud,                     by a preponderance of      “(1) The defendant          no injury are not
                     (1) a false representation of   the tort of negligent          Foods, Inc. v. Davis, 66        … (4) justifiable reliance on    misrepresentation, or      the evidence . . . .”      knew or ought to have       actionable.
                     material fact; (2) knowledge    misrepresentation.             S.W.3d 568, 579 (Ark. 2002).    the representation; and (5)      deceit:… (2)               Collins v. St. Vincent     known, in light of the
                     that the representation is      Misrepresentation, also                                        damage suffered as a result of   knowledge that the         Doctors, 253 S.W.3d        surrounding                 Wallis v. Ford Motor
                     false, or that there is         commonly referred to as                                        the reliance.”                   representation is false,   26, 29 (Ark. Ct. App.      circumstances, that his     Co., 362 Ark. 317, 319
                     insufficient evidence upon      deceit or fraud, has been an                                                                    or that there is           2007).                     or her conduct would        (Ark. 2005).
                     which to make the               intentional tort in Arkansas                                   Rosser v. Columbia Mut. Ins.     insufficient evidence                                 naturally and probably
                     representation; (3) intent to   for well over a century.”                                      Co., 928 S.W.2d 813, 815         upon which to make the                                result in injury or
                     induce action or inaction in                                                                   (Ark. Ct. App. 1996).            representation; (3)                                   damages and that he or
                     reliance upon the               South County v. First W.                                                                        intent to induce action                               she continued the
                     representation; (4)             Loan Co., 871 S.W.2d 325,                                                                       or inaction in reliance                               conduct with malice or
                     justifiable reliance on the     326 (Ark. 1994).                                                                                upon the                                              in reckless disregard of
                     representation; and (5)                                                                                                         representation.”                                      the consequences, from
                     damage suffered as a result                                                                                                                                                           which malice may be
                     of the reliance.” Rosser v.                                                                                                     Rosser v. Columbia                                    inferred; or
                     Columbia Mut. Ins. Co., 928                                                                                                     Mut. Ins. Co., 928                                    (2) The defendant
                     S.W.2d 813, 815 (Ark. Ct.                                                                                                       S.W.2d 813, 815 (Ark.                                 intentionally pursued a
                     App. 1996).                                                                                                                     Ct. App. 1996).                                       course of conduct for
                                                                                                                                                                                                           the purpose of causing
                                                                                                                                                                                                           injury or damage.”
                                                                                                                                                                                                           Ark. Code Ann. § 16-
                                                                                                                                                                                                           55-206
                                                                                                                                                                                                           Our application of
                                                                                                                                                                                                           benefit-of-the-bargain
                                                                                                                                                                                                           damages in common-
                                                                                                                                                                                                           law fraud cases has
                                                                                                                                                                                                           nonetheless been
                                                                                                                                                                                                           limited to instances
                                                                                                                                                                                                           where the actual
                                                                                                                                                                                                           product received by the
                                                                                                                                                                                                           purchaser manifests
                                                                                                                                                                                                           that it is different from
                                                                                                                                                                                                           that which was
                                                                                                                                                                                                           promised.

                                                                                                                                                                                                           Wallis v. Ford Motor
                                                                                                                                                                                                           Co., 362 Ark. 317, 319
                                                                                                                                                                                                           (Ark. 2005).



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                                                    VARIATIONS IN STATE INTENTIONAL/NEGLIGENT MISREPRESENTATION LAWS

                           Intentional                     Negligent                                                                                      Scienter                                                                    Other Defenses &
                                                                                                                     Reliance/Justifiable               Requirement              Standard of Proof             Damages &                  Features
   Jurisdiction         Misrepresentation              Misrepresentation             Statute of Limitations
                                                                                                                     Reliance/Causation                                          for Fraud Claims               Remedies
                            Elements                       Elements
CALIFORNIA           The elements of an             “The elements of negligent     Three years after discovery.   Justifiable reliance necessary    Knowledge of the            In California, fraud      Damages, whether for       In order to recover for
                     intentional                    misrepresentation are: (1)     Cal. Civ. Proc. Code § 338     for both.                         falsity and intent to       need be proved by a       deceit or negligent        fraud and negligent
                     misrepresentation claim are:   the misrepresentation of a     (d).                                                             induce reliance is          “preponderance of the     misrepresentation, must    misrepresentation, a
                     “(1) misrepresentation of a    past or existing material                                     Wells Fargo Bank, N.A. v.         necessary for               evidence” rather than     be measured by the         plaintiff must prove
                     material fact (consisting of   fact, (2) without reasonable                                  FSI, Financial Solutions, Inc.,   intentional                 “clear and convincing     actual losses suffered     actual monetary loss.
                     false representation,          ground for believing it to                                    196 Cal. App. 4th 1559, 1573      misrepresentation.          evidence.” Rosener v.     because of the
                     concealment or                 be true, (3) with intent to                                   (Cal. App. 4th Dist. 2011);                                   Sears, Roebuck & Co.,     misrepresentation.         Alliance Mortgage Co.
                     nondisclosure); (2)            induce another's reliance on                                  Bower v. AT & T Mobility,         Bower v. AT & T             168 Cal. Rptr. 237, 246                              v. Rothwell, 10 Cal. 4th
                     knowledge of falsity           the fact misrepresented, (4)                                  LLC, 196 Cal. App. 4th 1545,      Mobility, LLC, 196 Cal.     (Cal. Ct. App. 1980).     Cal. Civ. Code §§          1226, 1239 (Cal. 1995).
                     (scienter); (3) intent to      justifiable reliance on the                                   1557, 127 Cal. Rptr. 3d 569       App. 4th 1545, 1557,                                  1709, 3333.
                     deceive and induce reliance;   misrepresentation, and (5)                                    (Cal. App. 2d Dist. 2011).        127 Cal. Rptr. 3d 569
                     (4) justifiable reliance on    resulting damage”                                                                               (Cal. App. 2d Dist.                                   However, “fraud
                     the misrepresentation; and                                                                                                     2011).                                                plaintiffs may recover
                     (5) resulting damage.”         Wells Fargo Bank, N.A. v.                                                                                                                             ‘out-of-pocket’
                                                    FSI, Financial Solutions,                                                                       Intent to induce                                      damages in addition to
                     Bower v. AT & T Mobility,      Inc., 196 Cal. App. 4th                                                                         reliance necessary for                                benefit-of-the bargain
                     LLC, 196 Cal. App. 4th         1559, 1573 (Cal. App. 4th                                                                       negligent                                             damages.
                     1545, 1557, 127 Cal. Rptr.     Dist. 2011).                                                                                    misrepresentation as
                     3d 569 (Cal. App. 2d Dist.                                                                                                     well.                                                 Robinson Helicopter
                     2011).                                                                                                                                                                               Co., Inc. v. Dana
                                                                                                                                                    Wells Fargo Bank, N.A.                                Corp., 34 Cal. 4th 979,
                                                                                                                                                    v. FSI, Financial                                     992 (Cal. 2004).
                                                                                                                                                    Solutions, Inc., 196 Cal.
                                                                                                                                                    App. 4th 1559, 1573                                   Punitive damages are
                                                                                                                                                    (Cal. App. 4th Dist.                                  recoverable in those
                                                                                                                                                    2011).                                                fraud actions involving
                                                                                                                                                                                                          intentional, but not
                                                                                                                                                                                                          negligent,
                                                                                                                                                                                                          misrepresentations.

                                                                                                                                                                                                          Alliance Mortgage Co.
                                                                                                                                                                                                          v. Rothwell, 10 Cal. 4th
                                                                                                                                                                                                          1226, 1241 (Cal. 1995).




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                                                       VARIATIONS IN STATE INTENTIONAL/NEGLIGENT MISREPRESENTATION LAWS

                           Intentional                        Negligent                                                                                    Scienter                                                              Other Defenses &
                                                                                                                         Reliance/Justifiable            Requirement          Standard of Proof             Damages &                Features
   Jurisdiction         Misrepresentation                 Misrepresentation             Statute of Limitations
                                                                                                                         Reliance/Causation                                   for Fraud Claims               Remedies
                            Elements                          Elements
COLORADO             “To sustain a claim for           “To establish a claim for      Three years.                    The element of justifiable     For intentional         Defendants “failed to     Punitive Damages
                     intentional                       negligent                                                      reliance is common to both     misrepresentation the   carry . . . burden of      Awarded when
                     misrepresentation, Plaintiff      misrepresentation, Plaintiff   Col. Rev. Stat. Ann. § 13-80-   intentional and negligent      deception has to be     proving by clear and      “the injury complained
                     must demonstrate: (1)             must demonstrate: (1)          101.                            misrepresentation.             knowing.                convincing evidence       of is attended by
                     Defendant made a                  Defendant supplied false                                                                                              misrepresentation,        circumstances of fraud,
                     fraudulent misrepresentation      information to Plaintiff in                                    Shavo Norgren (India)          People v. Collie, 995   nondisclosure and fraud   malice, or willful and
                     of material fact; (2) Plaintiff   the course of a business                                       Private Ltd. v. C.A. Norgren   P.2d 765, 774 (Colo.    necessary to support      wanton conduct." Colo.
                     relied on the                     transaction; (2) Defendant                                     Co., 2006 U.S. Dist. LEXIS     Ct. App. 1999).         counterclaim.” Ficor,     Rev. Stat. § 13-21-
                     misrepresentation; (3)            failed to exercise                                             54077 (D. Colo. Aug. 3,                                Inc. v. McHugh, 639       102(1)(a).”
                     Plaintiff had a right to rely     reasonable care or                                             2006).                                                 P.2d 385, 396 (Colo.
                     on, or was justified in           competence in obtaining or                                                                                            1982).                    The damages for fraud
                     relying on, the                   communicating the false                                                                                                                         are the “benefit of the
                     misrepresentation; and (4)        information; and (3)                                                                                                  Preponderance for         bargain” while the
                     the reliance resulted in          Plaintiff justifiably relied                                                                                          negligence.               damages for negligent
                     damages.”                         on the false information.”                                                                                                                      misrepresentation are
                                                                                                                                                                             Rossetti Assocs. v.       “out of pocket
                     M.D.C./Wood, Inc. v.              Guardian Title Agency,                                                                                                Santa Fe I25 Denver,      expenses.”
                     Mortimer, 866 P.2d 1380,          L.L.C. v. Matrix Capital                                                                                              LLC, 2011 U.S. Dist.
                     1382 (Colo. 1994).                Bank, 141 F. Supp. 2d                                                                                                 LEXIS 22082 (D. Colo.     Ballow v. PHICO Ins.
                                                       1277, 1283 (D. Colo.                                                                                                  Mar. 4, 2011).            Co., 878 P.2d 672, 678
                     Fraud is -                        2001).                                                                                                                                          (Colo. 1994).
                     “a false representation of a
                     material existing fact, made
                     with knowledge or utter
                     disregard of its falsity, with
                     the intent to induce another
                     to rely upon the
                     representation and to take
                     detrimental action thereon.”

                     Arapahoe County Water &
                     Wastewater Pub.
                     Improvement Dist. v. HDR
                     Eng'g, Inc., 2009 U.S. Dist.
                     LEXIS 94936 (D. Colo.
                     Sept. 25, 2009).




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                                                      VARIATIONS IN STATE INTENTIONAL/NEGLIGENT MISREPRESENTATION LAWS

                           Intentional                       Negligent                                                                                     Scienter                                                                  Other Defenses &
                                                                                                                     Reliance/Justifiable                Requirement            Standard of Proof             Damages &                  Features
   Jurisdiction         Misrepresentation                Misrepresentation           Statute of Limitations
                                                                                                                     Reliance/Causation                                         for Fraud Claims               Remedies
                            Elements                         Elements
CONNECTICUT          “An action for intentional       “(1) that the defendant      Three years from the date of   “An action for intentional         “An action for            “[A]t common law,         Common law punitive
                     misrepresentation requires       made a misrepresentation     the act. Conn. Gen. Stat.      misrepresentation requires         intentional               fraud must be proven      damages available for
                     proof of four elements: (1)      of fact (2) that the         Ann. § 52-577; Giulietti v.    proof of four elements… (4)        misrepresentation         by clear and convincing   intentional
                     a false representation was       defendant knew or should     Giulietti, 784 A.2d 905, 925   the other party did act upon       requires proof of four    evidence.” Stuart v.      misrepresentation.
                     made as a statement of fact;     have known was false, and    n.19 (Conn. App. Ct. 2001).    that false representation to his   elements: (2) it was      Stuart, 297 Conn. 26,     Cohen v. Roll-A-Cover,
                     (2) it was untrue and known      (3) that the plaintiff                                      injury.”                           untrue and known to be    996 A.2d 259, 268         LLC, 2009 Conn.
                     to be untrue by the party        reasonably relied on the                                                                       untrue by the party       (2010).                   Super. LEXIS 2145
                     making it; (3) it was made       misrepresentation, and (4)                                  Cox v. Bland, 2006 U.S. Dist.      making it.”                                         (Conn. Super. Ct. Aug.
                     to induce the other party to     suffered pecuniary harm as                                  Lexis 80624, at * 13-14 (D.                                  Negligent                 6, 2009).
                     act upon it; and (4) the other   a result.”                                                  Conn. Oct. 27, 2006).              Cox v. Bland, 2006        misrepresentation must    “The method by which
                     party did act upon that false                                                                                                   U.S. Dist. Lexis 80624,   be proved by a            damages are measured
                     representation to his injury.”   Nazami v. Patrons Mut.                                      A claim of negligent               at * 13-14 (D. Conn.      preponderance of the      in a fraud action
                                                      Ins. Co., 280 Conn. 619,                                    misrepresentation requires…        Oct. 27, 2006).           evidence.                 depends on whether the
                     Cox v. Bland, 2006 U.S.          625, 910 A.2d 209 (2006).                                   (3) that the plaintiff             A claim of negligent                                plaintiff was a
                     Dist. Lexis 80624, at * 13-                                                                  reasonably relied on the           misrepresentation         Cohen v. Roll-A-Cover,    fraudulently induced
                     14 (D. Conn. Oct. 27,                                                                        misrepresentation, and (4)         requires (1) that         LLC, 2009 Conn.           buyer or seller. If the
                     2006).                                                                                       suffered pecuniary harm as a       defendants made a         Super. LEXIS 2145         plaintiff was a buyer,
                                                                                                                  result.”                           misrepresentation of      (Conn. Super. Ct. Aug.    courts apply the benefit
                                                                                                                                                     fact that defendants      6, 2009).                 of the bargain measure
                                                                                                                  Nazami v. Patrons Mut. Ins.        knew or should have                                 of damages, which is
                                                                                                                  Co., 280 Conn. 619, 625, 910       known was false                                     the difference in value
                                                                                                                  A.2d 209 (2006).                   pecuniary harm as a                                 between the property
                                                                                                                                                     result.”                                            actually conveyed and
                                                                                                                                                                                                         the value of the
                                                                                                                                                     Nazami v. Patrons Mut.                              property as it would
                                                                                                                                                     Ins. Co., 280 Conn.                                 have been if there had
                                                                                                                                                     619, 625, 910 A.2d 209                              been no false
                                                                                                                                                     (2006)                                              representation.”
                                                                                                                                                                                                         Leisure Resort Tech.,
                                                                                                                                                                                                         Inc. v. Trading Cove
                                                                                                                                                                                                         Assocs., 277 Conn. 21,
                                                                                                                                                                                                         34 (Conn. 2006).
                                                                                                                                                                                                         For negligent
                                                                                                                                                                                                         misrepresentation,
                                                                                                                                                                                                         damages generally
                                                                                                                                                                                                         restricted to foreseeable
                                                                                                                                                                                                         damages.
                                                                                                                                                                                                         Capital Mortg. Assocs.,
                                                                                                                                                                                                         LLC v. Hulton, 2009
                                                                                                                                                                                                         Conn. Super. LEXIS
                                                                                                                                                                                                         380, 83-84 (Conn.
                                                                                                                                                                                                         Super. Ct. Feb. 13,
                                                                                                                                                                                                         2009).
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                                                     VARIATIONS IN STATE INTENTIONAL/NEGLIGENT MISREPRESENTATION LAWS

                           Intentional                      Negligent                                                                                       Scienter                                                                     Other Defenses &
                                                                                                                         Reliance/Justifiable             Requirement              Standard of Proof             Damages &                   Features
   Jurisdiction         Misrepresentation               Misrepresentation               Statute of Limitations
                                                                                                                         Reliance/Causation                                        for Fraud Claims               Remedies
                            Elements                        Elements
DELAWARE             To establish a prima facie      “The elements for                Three years from time of act.   Justifiable reliance required   Scienter required for       Under Delaware law,       “The measure of             Under Delaware law,
                     case of intentional             negligent misrepresentation                                      for intentional                 intentional                 standard of proof for     damages for fraud           intentional
                     misrepresentation, the          are: (1) a misrepresentation     Krahmer v. Christie’s, Inc.,    misrepresentation.              misrepresentation.          fraud is preponderance    differs from that for       misrepresentation is a
                     following elements must be      of material fact; (2) that the   903 A.2d 773 (Del. Ch.                                                                      of the evidence.          negligent                   sufficient underlying
                     proven by a preponderance       representor either knew or       2006).                          Apartment Communities           Apartment                                             misrepresentation.          tort to support a claim
                     of the evidence: (1)            should have known was                                            Corp. v. American E&S Ins.      Communities Corp. v.        In re IBP Shareholders    Pursuant to a fraud         for civil conspiracy.
                     Deliberate concealment by       false or made without                                            Brokers, 1999 U.S. Dist.        American E&S Ins.           Litig., 789 A.2d 14, 54   claim, the recipient of a
                     the defendant of a material     knowledge of truth or                                            LEXIS 17262 (D. Del. Oct.       Brokers, 1999 U.S.          (Del. Ch. 2001).          fraudulent                  Am. Gen. Life Ins. Co.
                     past or present fact, or        falsity; (3) the representor                                     13, 1999).                      Dist. LEXIS 17262 (D.                                 misrepresentation is        v. Goldstein, 741 F.
                     silence in the face of a duty   intended to induce another                                                                       Del. Oct. 13, 1999).                                  entitled to recover as      Supp. 2d 604, 615 (D.
                     to speak; (2) That the          to act on the                                                    Justifiable reliance is                                                               damages in an action of     Del. 2010).
                     defendant acted with            misrepresentation; and (4)                                       necessary for negligent         Intent to induce                                      deceit against the
                     scienter; (3) An intent to      resulting injury to a party                                      misrepresentation.              reliance is necessary for                             maker the pecuniary
                     induce plaintiff's reliance     acting in justifiable reliance                                                                   both. Id.                                             loss to him of which
                     upon the concealment; (4)       on the misrepresentation.”                                       Southern Track & Pump, Inc.                                                           the misrepresentation is
                     Causation; and (5) Damages                                                                       v. Terex Corp., 722 F. Supp.    Southern Track &                                      a legal cause,
                     resulting from the              Southern Track & Pump,                                           2d 509 (D. Del. 2010).          Pump, Inc. v. Terex                                   including: (a) the
                     concealment.                    Inc. v. Terex Corp., 722 F.                                                                      Corp., 722 F. Supp. 2d                                difference between the
                                                     Supp. 2d 509 (D. Del.                                                                            509 (D. Del. 2010).                                   value of what he has
                     Apartment Communities           2010).                                                                                                                                                 received in the
                     Corp. v. American E&S Ins.                                                                                                                                                             transaction and its
                     Brokers, 1999 U.S. Dist.                                                                                                                                                               purchase price or other
                     LEXIS 17262 (D. Del. Oct.                                                                                                                                                              value given for it; and
                     13, 1999).                                                                                                                                                                             (b) pecuniary loss
                                                                                                                                                                                                            suffered otherwise as a
                                                                                                                                                                                                            consequence of the
                                                                                                                                                                                                            recipient's reliance
                                                                                                                                                                                                            upon the
                                                                                                                                                                                                            misrepresentation.”

                                                                                                                                                                                                            Negligent
                                                                                                                                                                                                            misrepresentation
                                                                                                                                                                                                            damages are limited to
                                                                                                                                                                                                            out of pocket/reliance
                                                                                                                                                                                                            damages.

                                                                                                                                                                                                            Envo, Inc. v. Walters,
                                                                                                                                                                                                            2009 Del. Ch. LEXIS
                                                                                                                                                                                                            216 (Del. Ch. Dec. 30,
                                                                                                                                                                                                            2009).



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                                                        VARIATIONS IN STATE INTENTIONAL/NEGLIGENT MISREPRESENTATION LAWS

                           Intentional                         Negligent                                                                                     Scienter                                                                      Other Defenses &
                                                                                                                          Reliance/Justifiable             Requirement              Standard of Proof               Damages &                  Features
   Jurisdiction         Misrepresentation                  Misrepresentation             Statute of Limitations
                                                                                                                          Reliance/Causation                                        for Fraud Claims                 Remedies
                            Elements                           Elements
DISTRICT OF          “In order to prove                 “(1) "the defendant made a     “[A]ction [for fraud] must be   For both plaintiffs must have   Intentional                 “The elements must be       A finding of intentional   Economic damages
COLUMBIA             fraudulent                         false statement or omission    brought within three years      relied on intentional           misrepresentation must      proved by clear and         misrepresentation by       needed for negligent
                     misrepresentation,                 of a fact"; (2) "the           from the time the fraud was     misrepresentations and that     be made with the intent     convincing evidence.”       itself does not support    misrepresentation, no
                     [plaintiffs] must prove (1) a      statement was in violation     discovered or reasonably        must have reasonably relied.    to deceive and with         Railan v. Katyal, 766       the imposition of          emotional damages
                     false representation, (2) in       of a duty to exercise          should have been                                                knowledge of the            A.2d 998, 1009 (D.C.        punitive damages.          available.
                     reference to a material fact,      reasonable care"; (3) "the     discovered.”                    Railan v. Katyal, 766 A.2d      falsity of the statement.   2001) (internal citations
                     (3) made with knowledge of         false statement or omission                                    998, 1009 (D.C. 2001)                                       omitted).                   Essroc Cement Corp. v.     Osbourne v. Capital
                     its falsity, (4) with the intent   involved a material issue";    D.C. Code § 12-301.             (internal citations omitted).   Railan v. Katyal, 766                                   CTI/D.C., Inc., 740 F.     City Mortg. Corp., 727
                     to deceive, and (5) action         (4) the plaintiff reasonably   Interdonato v. Interdonato,                                     A.2d 998, 1009 (D.C.                                    Supp. 2d 131, 148          A.2d 322, 324 (D.C.
                     taken by [plaintiffs] in           relied on the false            521 A.2d 1124, 1136 (D.C.       Burlington Ins. Co. v. Okie     2001) (internal citations                               (D.D.C. 2010).             1999).
                     reliance upon the                  statement or omission to       1987) (internal citations       Dokie, Inc., 329 F. Supp. 2d    omitted).
                     representation, (6) which          her detriment; and (5) the     omitted).                       45, 48 (D.D.C. 2004).
                     consequently resulted in           defendant's challenged
                     provable damages.”                 conduct caused injury to
                                                        the plaintiff.”
                     Railan v. Katyal, 766 A.2d         Burlington Ins. Co. v. Okie
                     998, 1009 (D.C. 2001)              Dokie, Inc., 329 F. Supp.
                     (internal citations omitted).      2d 45, 48 (D.D.C. 2004).




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                                                     VARIATIONS IN STATE INTENTIONAL/NEGLIGENT MISREPRESENTATION LAWS

                           Intentional                      Negligent                                                                                       Scienter                                                                     Other Defenses &
                                                                                                                        Reliance/Justifiable              Requirement              Standard of Proof              Damages &                  Features
   Jurisdiction         Misrepresentation               Misrepresentation             Statute of Limitations
                                                                                                                        Reliance/Causation                                         for Fraud Claims                Remedies
                            Elements                        Elements
FLORIDA              “[T]here are four elements      “(1) there was a               Actions for fraud, conversion,   For intentional                  Representer needed to       “When fraud is alleged,    A finding of intentional   Plaintiff can only
                     of fraudulent                   misrepresentation of           misrepresentation, and           misrepresentation reliance is    know representation         proof of it must be of     misrepresentation may      recover one count for
                     misrepresentation: (1) a        material fact; (2) the         forgery must be commenced        an element, but it does not      was false for intentional   the clearest, strongest,   be enough to warrant       damage on “those
                     false statement concerning a    representer either knew of     “within four years from the      necessarily have to be           misrepresentation.          and most convincing        punitive damages.          actions that can be
                     material fact; (2) the          the misrepresentation,         date of their accrual.” Sands    justifiable.                                                 character.” Verneret v.                               brought on two theories
                     representor's knowledge that    made the misrepresentation     v. Blando, 575 So.2d 1306,                                        Butler v. Yusem, 44 So.     Foreclosure Advisors,      Southstar Equity, LLC      of liability, but where a
                     the representation is false;    without knowledge of its       1306 (Fla. Dist. Ct. App.        Butler v. Yusem, 44 So. 3d       3d 102, 105 (Fla. 2010)     LLC, 45 So.3d 889, 890     v. Chau, 998 So. 2d        single basis for
                     (3) an intention that the       truth or falsity, or should    1991).                           102, 105 (Fla. 2010).                                        (Fla. Dist. Ct. App.       625, 632 (Fla. Dist. Ct.   damages applies.”
                     representation induce           have known the                                                                                   Intent to induce            2010).                     App. 2d Dist. 2008)
                     another to act on it; and (4)   representation was false;                                       For negligent                    reliance is an element                                                            First Interstate Dev.
                     consequent injury by the        (3) the representer intended                                    misrepresentation there has to   of both. Id.                Preponderance for          Florida has developed a    Corp. v. Ablanedo, 511
                     party acting in reliance on     to induce another to act on                                     be justifiable reliance.                                     negligence.                "flexibility" theory of    So. 2d 536, 538 (Fla.
                     the representation.”            the misrepresentation; and                                                                       Nianni, LLC v. Fox,                                    damages in cases of        1987).
                                                     (4) injury resulted to a                                         Nianni, LLC v. Fox, 2011        2011 U.S. Dist. LEXIS       Gilchrist Timber Co. v.    fraudulent
                     Butler v. Yusem, 44 So. 3d      party acting in justifiable                                     U.S. Dist. LEXIS 128593          128593 (M.D. Fla.           ITT Rayonier Inc., 472     misrepresentation to
                     102, 105 (Fla. 2010).           reliance upon the                                               (M.D. Fla. Nov. 7, 2011).        Nov. 7, 2011).              F.3d 1329, 1330 (11th      assure that an injured
                     Interestingly, “[j]ustifiable   misrepresentation.”                                                                                                          Cir. Fla. 2006).           party will obtain full
                     reliance is not a necessary                                                                                                                                                             compensation for the
                     element of fraudulent           Nianni, LLC v. Fox, 2011                                                                                                                                effect of the fraud. An
                     misrepresentation” in           U.S. Dist. LEXIS 128593                                                                                                                                 injured party may
                     Florida. Id.                    (M.D. Fla. Nov. 7, 2011).                                                                                                                               recover either the out-
                                                                                                                                                                                                             of-pocket loss or the
                                                                                                                                                                                                             benefit of the bargain
                                                                                                                                                                                                             loss.

                                                                                                                                                                                                             Minotty v. Baudo, 42
                                                                                                                                                                                                             So. 3d 824, 835 (Fla.
                                                                                                                                                                                                             Dist. Ct. App. 4th Dist.
                                                                                                                                                                                                             2010).




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                                                    VARIATIONS IN STATE INTENTIONAL/NEGLIGENT MISREPRESENTATION LAWS

                           Intentional                     Negligent                                                                                        Scienter                                                            Other Defenses &
                                                                                                                         Reliance/Justifiable             Requirement         Standard of Proof          Damages &                  Features
   Jurisdiction         Misrepresentation              Misrepresentation              Statute of Limitations
                                                                                                                         Reliance/Causation                                   for Fraud Claims            Remedies
                            Elements                       Elements
GEORGIA              “To assert a claim for fraud   “The elements of negligent      “A suit alleging fraudulent                                       Scienter needed for    Tort of fraudulent     Punitive damages may
                     in Georgia, a plaintiff must   misrepresentation are: (1)      inducement in the purchase of     Justifiable or reasonable       intentional            misrepresentation      be awarded in tort
                     show (i) a false               the defendant's negligent       property is an action for         reliance for both.              misrepresentation.     requires proof of      actions where there is
                     representation or omission     supply of false information     injury to property, a claim for                                                          elements by a          clear and convincing
                     of a material fact; (ii)       to foreseeable persons,         which must be brought within      TechBios, Inc. v. Champagne,    TechBios, Inc. v.      preponderance of       evidence that the
                     scienter; (iii) intention to   known or unknown; (2)           four years after the right of     688 S.E.2d 378, 380 (Ga. Ct.    Champagne, 688         evidence. Bloodworth   defendant's actions
                     induce the party claiming      such person's reasonable        action accrues.”                  App. 2009).                     S.E.2d 378, 380 (Ga.   v. Bloodworth, 626     showed willful
                     fraud to act or refrain from   reliance on the false                                                                             Ct. App. 2009)         S.E.2d 589 (Ga. Ct.    misconduct, malice,
                     acting; (iv) justifiable       information; and (3)            City of McCaysville v.            Smiley v. S & J Inves., Inc.,                          App. 2006) (internal   fraud, wantonness,
                     reliance; and (v) damages.”    economic injury as a            Cardinal Robotics, LLC, 589       260 Ga. App. 493, 580 S.E.2d                           citations omitted).    oppression, or that
                                                    proximate result.”              S.E.2d 614 (Ga. Ct. App.          283, 288 (Ga. App. 2003).                                                     entire want of care
                     TechBios, Inc. v.                                              2003) (internal citations                                                                                       which would raise the
                     Champagne, 688 S.E.2d          Smiley v. S & J Inves., Inc.,   omitted).                                                                                                       presumption of a
                     378, 380 (Ga. Ct. App.         260 Ga. App. 493, 580                                                                                                                           conscious indifference
                     2009).                         S.E.2d 283, 288 (Ga. App.       For negligent                                                                                                   to consequences. If,
                                                    2003).                          misrepresentation “claims do                                                                                    however, there is
                                                                                    not accrue until economic                                                                                       evidence of fraud,
                                                                                    injury results from reliance                                                                                    punitive damages can
                                                                                    on the misrepresentation.”                                                                                      be awarded, as fraud
                                                                                                                                                                                                    constitutes tortious
                                                                                    Facility Constr. Mgmt. v.                                                                                       conduct.
                                                                                    Ahrens Concrete Floors, Inc.,
                                                                                    2010 U.S. Dist. LEXIS 29242                                                                                     Trickett v. Advanced
                                                                                    (N.D. Ga. Mar. 24, 2010).                                                                                       Neuromodulation Sys.,
                                                                                                                                                                                                    542 F. Supp. 2d 1338,
                                                                                                                                                                                                    1356 (S.D. Ga. 2008)

                                                                                                                                                                                                    Damages for
                                                                                                                                                                                                    negligence are limited
                                                                                                                                                                                                    to “out of pocket
                                                                                                                                                                                                    expenses” while those
                                                                                                                                                                                                    for intentional fraud are
                                                                                                                                                                                                    calculated using a
                                                                                                                                                                                                    “benefit of the bargain”
                                                                                                                                                                                                    standard.
                                                                                                                                                                                                    BDO Seidman, L.L.P.
                                                                                                                                                                                                    v. Mindis Acquisition
                                                                                                                                                                                                    Corp., 276 Ga. 311,
                                                                                                                                                                                                    312 (Ga. 2003).




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                                                    VARIATIONS IN STATE INTENTIONAL/NEGLIGENT MISREPRESENTATION LAWS

                           Intentional                     Negligent                                                                                    Scienter                                                                    Other Defenses &
                                                                                                                    Reliance/Justifiable              Requirement             Standard of Proof              Damages &                  Features
   Jurisdiction         Misrepresentation              Misrepresentation            Statute of Limitations
                                                                                                                    Reliance/Causation                                        for Fraud Claims                Remedies
                            Elements                       Elements
HAWAII               “(1) false representations     “(1) false information was    Six years for both.            Justifiable reliance necessary   Knowledge, or no           The party claiming         Punitive Damages for
                     were made by Defendants;       supplied as a result of the                                  for both.                        knowledge of truth or      fraud must establish the   intentional
                     (2) with knowledge of their    failure to exercise           Eastman v. McGowan, 946                                         falsity of statement for   elements of fraud by       misrepresentation
                     falsity (or without            reasonable care or            P.2d 1317 (Haw. 1997); Au v.   Haw. Forest & Trial, Ltd. v.     intentional.               clear and convincing       available where “the
                     knowledge of their truth or    competence in                 Au, 63 Haw. 210, 217-218       Davey, 2009 U.S. Dist.                                      evidence. Shoppe v.        defendant has acted
                     falsity); (3) in               communicating the             (1981).                        LEXIS 99070 (D. Haw. Oct.        In contemplation of        Gucci Am., Inc., 14        wantonly or
                     contemplation of defendants    information; (2) the person                                  23, 2009).                       getting the other party    P.3d 1049, 1067 (Haw.      oppressively or with
                     reliance upon the false        for whose benefit the                                                                         to rely for intentional.   2000).                     such malice as implies
                     representations; and (4)       information was supplied                                                                                                                            a spirit of mischief or
                     defendant did rely upon        suffered the loss; and (3)                                                                    Haw. Forest & Trial,       Preponderance for          criminal indifference to
                     them.                          the recipient relied upon                                                                     Ltd. v. Davey, 2009        negligence.                civil obligations; or
                                                    the misrepresentation.”                                                                       U.S. Dist. LEXIS                                      where there has been
                     Haw. Forest & Trial, Ltd. v.                                                                                                 99070 (D. Haw. Oct.        Bank of Hawaii v.          some wilful misconduct
                     Davey, 2009 U.S. Dist.         Haw. Forest & Trial, Ltd.                                                                     23, 2009).                 Shaw, 83 Haw. 50, 63       or that entire want of
                     LEXIS 99070 (D. Haw. Oct.      v. Davey, 2009 U.S. Dist.                                                                                                (Haw. Ct. App. 1996).      care which would raise
                     23, 2009).                     LEXIS 99070 (D. Haw.                                                                                                                                the presumption of a
                                                    Oct. 23, 2009).                                                                                                                                     conscious indifference
                                                                                                                                                                                                        to consequences.”

                                                                                                                                                                                                        Haw. Forest & Trial,
                                                                                                                                                                                                        Ltd. v. Davey, 2009
                                                                                                                                                                                                        U.S. Dist. LEXIS
                                                                                                                                                                                                        99070, 20-21 (D. Haw.
                                                                                                                                                                                                        Oct. 23, 2009).

                                                                                                                                                                                                        In fraud or deceit cases,
                                                                                                                                                                                                        the measure of
                                                                                                                                                                                                        pecuniary damages is
                                                                                                                                                                                                        the 'benefit of the
                                                                                                                                                                                                        bargain.”

                                                                                                                                                                                                        Exotics Hawaii-Kona,
                                                                                                                                                                                                        Inc. v. E. I. du Pont de
                                                                                                                                                                                                        Nemours & Co., 116
                                                                                                                                                                                                        Haw. 277, 293 (Haw.
                                                                                                                                                                                                        2007); Zanakis-Pico v.
                                                                                                                                                                                                        Cutter Dodge, Inc., 98
                                                                                                                                                                                                        Haw. 309, 322 (Haw.
                                                                                                                                                                                                        2002).




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                                                         VARIATIONS IN STATE INTENTIONAL/NEGLIGENT MISREPRESENTATION LAWS

                           Intentional                          Negligent                                                                              Scienter                                                                 Other Defenses &
                                                                                                                      Reliance/Justifiable           Requirement            Standard of Proof            Damages &                  Features
   Jurisdiction         Misrepresentation                   Misrepresentation          Statute of Limitations
                                                                                                                      Reliance/Causation                                    for Fraud Claims              Remedies
                            Elements                            Elements
IDAHO                “The elements of an action          Not recognized in Idaho.    Three years from discovery.   Reliance must be justified.   Knowledge or              The burden is on the     Punitive damages           No recovery for mental
                     for fraudulent                                                                                                              ignorance of truth is     claimant to prove each   available where there is   anguish.
                     misrepresentation are: (1) a        Gibson v. Credit Suisse     Idaho Code Ann. § 5-218.      Irwin Rogers Ins. Agency v.   needed, as is intent to   element of fraud by      an extreme deviation
                     representation; (2) its             AG, 2011 U.S. Dist. LEXIS                                 Murphy, 122 Idaho 270, 274    induce reliance.          clear and convincing     from a reasonable          Walston v. Monumental
                     falsity; (3) its materiality;       39685 (D. Idaho Feb. 17,                                  (Idaho Ct. App. 1992).                                  evidence.                standard of conduct        Life Ins. Co., 129 Idaho
                     (4) the speaker's knowledge         2011).                                                                                  Deutz-Allis Credit                                 evidencing a harmful       211, 217 (Idaho 1996).
                     of its falsity or ignorance of                                                                                              Corp. v. Bakie Logging,   Kuhn v. Coldwell         state of mind.
                     its truth; (5) his intent that it                                                                                           824 P.2d 178,             Banker Landmark, Inc.,
                     should be acted on by the                                                                                                   182 (Idaho Ct. App.       Case 245 P.3d 992,       Hardenbrook v. UPS,
                     person and in the manner                                                                                                    1992).                    1002 (Idaho 2010).       2009 U.S. Dist. LEXIS
                     reasonably contemplated;                                                                                                                                                       99596, 24-25 (D. Idaho
                     (6) the hearer's ignorance of                                                                                                                                                  Oct. 26, 2009).
                     its falsity; (7) his reliance on
                     the truth; (8) his right to rely                                                                                                                                               “The ‘out-of-pocket
                     thereon; and (9) his                                                                                                                                                           rule’ and the ‘benefit-
                     consequent and proximate                                                                                                                                                       of-bargain rule’ are not
                     injury.”                                                                                                                                                                       exclusive and should
                                                                                                                                                                                                    only be used when
                     Deutz-Allis Credit Corp. v.                                                                                                                                                    appropriate under the
                     Bakie Logging, 824 P.2d                                                                                                                                                        facts. The underlying
                     178, 182 (Idaho Ct. App.                                                                                                                                                       principle is that the
                     1992).                                                                                                                                                                         victim of fraud is
                                                                                                                                                                                                    entitled to
                                                                                                                                                                                                    compensation for every
                                                                                                                                                                                                    wrong, which is the
                                                                                                                                                                                                    natural and proximate
                                                                                                                                                                                                    result of the fraud. The
                                                                                                                                                                                                    measure of damages,
                                                                                                                                                                                                    which should be
                                                                                                                                                                                                    adopted under the facts
                                                                                                                                                                                                    of a case, is the one,
                                                                                                                                                                                                    which will effect such
                                                                                                                                                                                                    results.”

                                                                                                                                                                                                    Walston v. Monumental
                                                                                                                                                                                                    Life Ins. Co., 129 Idaho
                                                                                                                                                                                                    211, 217 (Idaho 1996).




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                                                       VARIATIONS IN STATE INTENTIONAL/NEGLIGENT MISREPRESENTATION LAWS

                           Intentional                        Negligent                                                                                     Scienter                                                                   Other Defenses &
                                                                                                                        Reliance/Justifiable              Requirement           Standard of Proof               Damages &                  Features
   Jurisdiction         Misrepresentation                 Misrepresentation            Statute of Limitations
                                                                                                                        Reliance/Causation                                      for Fraud Claims                 Remedies
                            Elements                          Elements
ILLINOIS             “The elements of a claim for      “(1) the defendant's          Action in fraud and deceit      Justifiable reliance and         Knowledge or belief of   A plaintiff must prove      Punitive damages are
                     fraudulent                        negligent supply of false     must be commenced within        damage needed for both.          falsity and intent to    the elements of             prohibited in simple
                     misrepresentation, also           information to foreseeable    five years after the cause of                                    induce reliance needed   fraudulent                  negligence cases but
                     referred to as common law         persons, known or             action accrued.                 Gray v. Abbott Labs., Inc.,      for intentional          misrepresentation by        are appropriate in fraud
                     fraud, are: (1) a false           unknown; (2) such persons'                                    2011 U.S. Dist. LEXIS 80189      misrepresentation.       clear and convincing        cases.
                     statement or omission of          reasonable reliance upon      Fitton v. Barrington Realty     (N.D. Ill. 2011).                                         evidence.
                     material fact; (2) knowledge      that false information; and   Co., Inc., 653 N.E.2d 1276                                       Weidner v. Karlin, 932                               Cripe v. Leiter, 291 Ill.
                     or belief of the falsity by the   (3) economic injury           (Ill. App. Ct. 1995).           Weidner v. Karlin, 932           N.E.2d 602, 605 (Ill.    Johnson v. Waterfront       App. 3d 155, 158 (Ill.
                     party making it; (3)              proximately resulting from                                    N.E.2d 602, 605 (Ill. App. Ct.   App. Ct. 2010).          Servs. Co., 909 N.E.2d      App. Ct. 3d Dist.
                     intention to induce the other     such reliance”                Same for negligent              2010).                                                    342 (Ill. App. Ct. 2009).   1997).
                     party to act; (4) action by                                     misrepresentation.                                               “negligent
                     the other party in reliance       Gray v. Abbott Labs., Inc.,                                                                    misrepresentation does   Preponderance for           If the elements of
                     on the truth of the               2011 U.S. Dist. LEXIS         Brown v. New York Life Ins.                                      not require scienter”    negligent                   damage can be proved,
                     statements; and (5) damage        80189 (N.D. Ill. 2011).       Co., No. 06-C3339, 2008                                                                   misrepresentation.          nominal damage can be
                     to the other party resulting                                    U.S. Dist. LEXIS 2942, at *6                                     Anderson v. AON                                      recovered for both.
                     from such reliance.”                                            (N.D. Ill. Jan. 15, 2008).                                       Corp., 2011 U.S. Dist.   Eastern Cyclone Indus.
                                                                                                                                                      LEXIS 111217 (N.D.       v. State, 37 Ill. Ct. Cl.   City of Chicago v.
                     Weidner v. Karlin, 932                                                                                                           Ill. Sept. 29, 2011).    197, 209-210 (Ill. Ct.      Michigan Beach Hous.
                     N.E.2d 602, 605 (Ill. App.                                                                                                                                Cl. 1984).                  Coop., 297 Ill. App. 3d
                     Ct. 2010).                                                                                                                                                                            317, 326 (Ill. App. Ct.
                                                                                                                                                                                                           1st Dist. 1998).

                                                                                                                                                                                                           “Lastly, the damages
                                                                                                                                                                                                           claimed on the basis of
                                                                                                                                                                                                           negligent
                                                                                                                                                                                                           misrepresentation are
                                                                                                                                                                                                           limited to out-of-pocket
                                                                                                                                                                                                           damages.”
                                                                                                                                                                                                           Wells Fargo Bus.
                                                                                                                                                                                                           Credit, Inc. v. Dovebid
                                                                                                                                                                                                           Valuation Servs., 2008
                                                                                                                                                                                                           U.S. Dist. LEXIS
                                                                                                                                                                                                           85088 (N.D. Ill. Sept.
                                                                                                                                                                                                           18, 2008)
                                                                                                                                                                                                           Benefit of the bargain
                                                                                                                                                                                                           is used to calculate
                                                                                                                                                                                                           damages in fraud cases.
                                                                                                                                                                                                           Price v. Philip Morris,
                                                                                                                                                                                                           Inc., 2005 Ill. LEXIS
                                                                                                                                                                                                           2071 (Ill. Dec. 15,
                                                                                                                                                                                                           2005).


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                                                     VARIATIONS IN STATE INTENTIONAL/NEGLIGENT MISREPRESENTATION LAWS

                           Intentional                      Negligent                                                                                       Scienter                                                                  Other Defenses &
                                                                                                                        Reliance/Justifiable              Requirement            Standard of Proof              Damages &                 Features
   Jurisdiction         Misrepresentation               Misrepresentation            Statute of Limitations
                                                                                                                        Reliance/Causation                                       for Fraud Claims                Remedies
                            Elements                        Elements
INDIANA              “To establish a cause of        Does not recognize            Six-year statute of limitations   Justifiable reliance required.   Knowledge or              “When fraud is relied      Fraudulent
                     action for fraudulent           negligent misrepresentation   for actions seeking relief                                         recklessness needed for   on as a basis for          misrepresentation can
                     misrepresentation,              as a distinct tort.           against frauds applies to         Hizer v. Holt, 937 N.E.2d 1,     intentional               recovery, alleging party   result in punitive
                     [plaintiff] must demonstrate                                  constructive fraud as well as     5 (Ind. Ct. App. 2010).          misrepresentation and     must prove all of          damages.
                     that (1) [defendant] made       Darst v. Illinois Farmers     actual fraud.                                                      the statements must       essential elements of
                     false statements of past or     Ins. Co., 716 N.E.2d 579,                                                                        have been made in         fraud by a                 A.B.C. Home & Real
                     existing material facts; (2)    584 (Ind. App. 1999).         Orem v. Ivy Tech State Coll.,                                      order to induce the       preponderance of the       Estate Inspection, Inc.
                     [defendant] made such                                         711 N.E.2d 864, 870 n.7 (Ind.                                      other party.              evidence.” Grissom v.      v. Plummer, 500
                     statements knowing them to                                    Ct. App. 1999).                                                                              Moran, 290 N.E.2d          N.E.2d 1257, 1263
                     be false or recklessly                                                                                                           Hizer v. Holt, 937        119, 123 (Ind. Ct. App.    (Ind. Ct. App. 1986).
                     without knowledge as to                                                                                                          N.E.2d 1, 5 (Ind. Ct.     1972).
                     their truth or falsity; (3)                                                                                                      App. 2010).                                          Benefit of the bargain
                     [defendant] made the                                                                                                                                                                  is the measure for
                     statements to induce                                                                                                                                                                  intentional
                     [plaintiff] to act upon them;                                                                                                                                                         misrepresentation
                     4) [plaintiff] justifiably                                                                                                                                                            damages.
                     relied and acted upon the
                     statements; and 5) [the                                                                                                                                                               Lightning Litho, Inc. v.
                     plaintiff] suffered injury.”                                                                                                                                                          Danka Indus., 776
                                                                                                                                                                                                           N.E.2d 1238, 1243
                     Hizer v. Holt, 937 N.E.2d 1,                                                                                                                                                          (Ind. Ct. App. 2002).
                     5 (Ind. Ct. App. 2010).




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                                                      VARIATIONS IN STATE INTENTIONAL/NEGLIGENT MISREPRESENTATION LAWS

                           Intentional                       Negligent                                                                                         Scienter                                                                 Other Defenses &
                                                                                                                            Reliance/Justifiable             Requirement          Standard of Proof              Damages &                  Features
   Jurisdiction         Misrepresentation                Misrepresentation              Statute of Limitations
                                                                                                                            Reliance/Causation                                    for Fraud Claims                Remedies
                            Elements                         Elements
IOWA                 “To establish a claim for        “One who, in the course of      In general, actions for injuries    Justifiable reliance needed    Scienter needed for     Fraud must be proven       Punitive damages are       In Iowa, liability for
                     fraudulent                       his business, profession or     to property and for relief on      for both.                       intentional             by a preponderance of      not allowed for            negligent
                     misrepresentation, Van           employment, or in any           ground of fraud must be                                            misrepresentation.      clear, satisfactory, and   intentional                misrepresentation arises
                     Sickle has the burden of         other transaction in which      brought within five years.                                                                 convincing evidence.       misrepresentation in the   only when the
                     proving each of the              he has a pecuniary interest,                                                                       Van Sickle Const. Co.                              absence of malice,         information is provided
                     following elements: “(1)         supplies false information      Bob McKinness Excavating &         Van Sickle Const. Co. v.        v. Wachovia             Stewart v. Sisson, 766     fraud, or other illegal    by persons in the
                     representation, (2) falsity,     for the guidance of others      Grading, Inc. v. Morton            Wachovia Commercial             Commercial Mortg.,      N.W.2d 800 (Iowa App.      acts.                      business or profession
                     (3) materiality, (4) scienter,   in their business               Bldgs., Inc., 507 N.W.2d 405       Mortg., Inc., 783 N.W.2d        Inc., 783 N.W.2d 684,   2009).                     Clark-Peterson Co. v.      of supplying
                     (5) intent to deceive, (6)       transactions, is subject to     (Iowa 1993).                       684, 687 (Iowa 2010).           687 (Iowa 2010).                                   Independent Ins.           information to others.
                     reliance, and (7) resulting      liability for pecuniary loss                                                                                                                          Assocs., 514 N.W.2d        Absent a special
                     injury and damage.”              caused to them by their         Iowa Code § 614.1(4).              Estate of Butler v. Maharishi                                                      912, 916 (Iowa 1994).      relationship giving rise
                                                      justifiable reliance upon the                                      Univ. of Mgmt., 589 F. Supp.                                                                                  to a duty of care, a
                     Van Sickle Const. Co. v.         information, if he fails to                                        2d 1150, 1163 (S.D. Iowa                                                           “Iowa law recognizes       claimant cannot
                     Wachovia Commercial              exercise reasonable care or                                        2008).                                                                             two basic methods to       establish negligent
                     Mortg., Inc., 783 N.W.2d         competence in obtaining or                                                                                                                            measure damages in         misrepresentation.
                     684, 687 (Iowa 2010).            communicating the                                                                                                                                     fraud cases. The first
                                                      information.”                                                                                                                                         measure of damages         Estate of Butler v.
                                                                                                                                                                                                            provides compensation      Maharishi Univ. of
                                                      Estate of Butler v.                                                                                                                                   for the benefit of the     Mgmt., 589 F. Supp. 2d
                                                      Maharishi Univ. of Mgmt.,                                                                                                                             bargain. The second        1150, 1163 (S.D. Iowa
                                                      589 F. Supp. 2d 1150, 1163                                                                                                                            measure of damages is      2008).
                                                      (S.D. Iowa 2008).                                                                                                                                     the out-of-pocket rule.
                                                                                                                                                                                                            However, these
                                                                                                                                                                                                            measures of damages
                                                                                                                                                                                                            have primarily been
                                                                                                                                                                                                            developed in cases of
                                                                                                                                                                                                            fraud involving the
                                                                                                                                                                                                            transfer of property.
                                                                                                                                                                                                            Yet, even when
                                                                                                                                                                                                            property is not
                                                                                                                                                                                                            transferred between the
                                                                                                                                                                                                            defendant and the
                                                                                                                                                                                                            plaintiff, a defrauded
                                                                                                                                                                                                            plaintiff is entitled to
                                                                                                                                                                                                            recover those losses
                                                                                                                                                                                                            proximately caused by
                                                                                                                                                                                                            reliance on the
                                                                                                                                                                                                            misrepresentation.”
                                                                                                                                                                                                            Spreitzer v. Hawkeye
                                                                                                                                                                                                            State Bank, 779
                                                                                                                                                                                                            N.W.2d 726, 739 (Iowa
                                                                                                                                                                                                            2009).

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                                                     VARIATIONS IN STATE INTENTIONAL/NEGLIGENT MISREPRESENTATION LAWS

                           Intentional                      Negligent                                                                                      Scienter                                                                Other Defenses &
                                                                                                                       Reliance/Justifiable              Requirement           Standard of Proof              Damages &                Features
   Jurisdiction         Misrepresentation               Misrepresentation              Statute of Limitations
                                                                                                                       Reliance/Causation                                      for Fraud Claims                Remedies
                            Elements                        Elements
KANSAS               “[T]he elements of an action    “The elements of negligent      A fraud claim must be          Justifiable reliance for both.   Intent to deceive or     “Fraud is never            To recover punitive
                     for fraud include (1) an        misrepresentation are: (1)      “brought within two years of                                    reckless disregard for   presumed, but must be      damages, plaintiff must
                     untrue statement of fact, (2)   the defendant made a false      discovery of alleged fraud.”   Bomhoff v. Nelnet Loan           the truth, and           established by clear and   prove by clear and
                     known to be untrue by the       statement regarding a           Richards v. Bryan, 879 P.2d    Servs, Inc., 109 P.3d 1241,      knowledge of the         convincing evidence.”      convincing evidence,
                     party making it, (3) made       transaction in which he or      638, 646 (Kan. Ct. App.        1246 (Kan. 2005) (quoting        falsity of statement     Chism v. Protective Life   that defendant acted
                     with the intent to deceive or   she had a pecuniary             1994).                         Alired v. McGehee, 85 P.3d       needed for intentional   Ins. Co., 234 P.3d 780,    willfully, wantonly, or
                     with reckless disregard for     interest; (2) the defendant                                    1191 (2004).                     misrepresentation.       783 (Kan. 2010).           with fraud or malice.
                     the truth, (4) upon which       failed to exercise
                     another party justifiably       reasonable care to ascertain                                   Evolution, Inc. v. Suntrust      Bomhoff v. Nelnet Loan   “plaintiffs' burden of     K.S.A. §§ 60-3701(c),
                     relies and (5) acts to his or   or communicate the                                             Bank, 342 F. Supp. 2d 964,       Servs, Inc., 109 P.3d    proof on its negligent     60-3702(c).
                     her detriment.”                 accuracy of the statement;                                     971 (D. Kan. 2004).              1241, 1246 (Kan. 2005)   misrepresentation claim
                                                     (3) the plaintiff justifiably                                                                   (quoting Alired v.       is by a preponderance      Benefit of the bargain
                     Bomhoff v. Nelnet Loan          relied upon the statement;                                                                      McGehee, 85 P.3d 1191    of the evidence.”          is used to calculate
                     Servs, Inc., 109 P.3d 1241,     and (4) the plaintiff thereby                                                                   (2004).                                             damages for fraud.
                     1246 (Kan. 2005) (quoting       incurred a loss.”                                                                                                        Sprague v. Peoples
                     Alired v. McGehee, 85 P.3d                                                                                                                               State Bank, 844 F.         Fisher v. Mr. Harold's
                     1191 (2004).                    Evolution, Inc. v. Suntrust                                                                                              Supp. 662, 670 (D.         Hair Lab, Inc., 215
                                                     Bank, 342 F. Supp. 2d 964,                                                                                               Kan. 1994).                Kan. 515 (Kan. 1974).
                                                     971 (D. Kan. 2004).




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                                                     VARIATIONS IN STATE INTENTIONAL/NEGLIGENT MISREPRESENTATION LAWS

                           Intentional                      Negligent                                                                                      Scienter                                                                    Other Defenses &
                                                                                                                       Reliance/Justifiable              Requirement            Standard of Proof              Damages &                   Features
   Jurisdiction         Misrepresentation               Misrepresentation             Statute of Limitations
                                                                                                                       Reliance/Causation                                       for Fraud Claims                Remedies
                            Elements                        Elements
KENTUCKY             “In a Kentucky action for       “In order to prove a           Five years. Ky. Rev. St. Ann.   Justifiable reliance for both.   Knowledge or              Fraud claim requires       To receive punitive
                     fraud, the party claiming       negligent                      § 413.120.                                                       recklessness and intent   proof, by clear and        damages, the plaintiff
                     harm must establish six         misrepresentation,                                             Barton Brands, Ltd. v.           to induce reliance must   convincing evidence, of    must show the
                     elements of fraud by clear      [Plaintiff] must show that                                     O'Brien & Gere, Inc. of N.       be present for            six elements . . . .       defendant acted with
                     and convincing evidence as      in the course of                                               Am., 2009 U.S. Dist. LEXIS       intentional                                          "oppression, fraud or
                     follows: a) material            [defendant’s] business, or                                     33187 (W.D. Ky. Apr. 15,         misrepresentation.        Flegles, Inc. v. Truserv   malice." KRS §
                     representation b) which is      in any other transaction in                                    2009).                                                     Corp., 289 S.W.3d 544      411.184(2). The terms
                     false c) known to be false or   which it had a pecuniary                                                                        United Parcel Serv. Co.   (Ky. 2009).                "oppression" and
                     made recklessly d) made         interest, it negligently                                       United Parcel Serv. Co. v.       v. Rickert, 996 S.W.2d                               "fraud" are statutorily
                     with inducement to be acted     supplied false information                                     Rickert, 996 S.W.2d 464,         464, 468 (Ky. 1999).      “negligent                 defined. Oppression is
                     upon e) acted in reliance       for the guidance of                                            468 (Ky. 1999).                                            misrepresentation -        conduct intended to
                     thereon and f) causing          defendant in its business                                                                                                 similarly requires proof   subject a plaintiff to
                     injury.”                        transactions, which                                                                                                       by clear and convincing    cruel and unjust
                                                     defendant justifiably relied                                                                                              evidence of a material     hardship. Id. §
                     United Parcel Serv. Co. v.      on to its detriment”                                                                                                      representation that a      411.184(1)(a). Fraud is
                     Rickert, 996 S.W.2d 464,                                                                                                                                  defendant knew, or         defined to be
                     468 (Ky. 1999).                 Barton Brands, Ltd. v.                                                                                                    should have known, to      intentional
                                                     O'Brien & Gere, Inc. of N.                                                                                                be false.” Presnell        misrepresentation…of
                                                     Am., 2009 U.S. Dist.                                                                                                      Constr. Managers, Inc.     material fact that is
                                                     LEXIS 33187 (W.D. Ky.                                                                                                     v. EH Constr., LLC,        known to the defendant
                                                     Apr. 15, 2009).                                                                                                           134 S.W.3d 575, 581        and is concealed with
                                                                                                                                                                               (Ky. 2004).                the intention of causing
                                                                                                                                                                                                          injury to the plaintiff. §
                                                                                                                                                                                                          411.184(1)(b)
                                                                                                                                                                                                          Benefit of the bargain
                                                                                                                                                                                                          is used to calculate
                                                                                                                                                                                                          damages for fraud.
                                                                                                                                                                                                          Sanford Constr. Co. v.
                                                                                                                                                                                                          S & H Contractors,
                                                                                                                                                                                                          Inc., 443 S.W.2d 227,
                                                                                                                                                                                                          238 (Ky. 1969).
                                                                                                                                                                                                          Out of pocket for
                                                                                                                                                                                                          negligent
                                                                                                                                                                                                          misrepresentation.
                                                                                                                                                                                                          Giddings & Lewis, Inc.
                                                                                                                                                                                                          v. Indus. Risk Insurers,
                                                                                                                                                                                                          348 S.W.3d 729, 737
                                                                                                                                                                                                          (Ky. 2011).




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                                                    VARIATIONS IN STATE INTENTIONAL/NEGLIGENT MISREPRESENTATION LAWS

                           Intentional                     Negligent                                                                                     Scienter                                                                   Other Defenses &
                                                                                                                     Reliance/Justifiable              Requirement             Standard of Proof              Damages &                 Features
   Jurisdiction         Misrepresentation              Misrepresentation           Statute of Limitations
                                                                                                                     Reliance/Causation                                        for Fraud Claims                Remedies
                            Elements                       Elements
LOUISIANA            “To succeed in a claim for      “The plaintiff must show    An action for fraud is in tort   Justifiable reliance necessary   Intent to deceive          Fraud need only be         Louisiana law prohibits
                     intentional/fraudulent         (1) a legal duty to supply   and prescribes in one year.      for both.                        necessary for              proven by                  punitive damage
                     misrepresentations, the        correct information; (2)                                                                       intentional                preponderance of           awards in tort cases.
                     petition must contain          breach; and (3) damages      Winn Fuel Serv., Inc. v.         Commercial Nat. Bank v.          misrepresentation.         evidence and may be
                     allegations of: (1) a          resulting from justifiable   Booth, 34 So.3d 515, 519 (La.    Audubon Meadow Part., 566                                   established by             Silver v. Nelson, 610 F.
                     misrepresentation of           reliance on the              Ct. App. 2010).                  So.2d 1136, 1139 (La.App.        Sys. Eng’g and Sec.,       circumstantial evidence.   Supp. 505, 523 (D. La.
                     material fact, (2) made with   misrepresentation.”                                           2d Cir.1990).                    Inc. v. Sci. & Eng’s       Van Meter v. Gutierrez,    1985).
                     the intent to deceive, (3)                                                                                                    Ass’ns, Inc., 962 So. 2d   897 So.2d 781, 787 (La.
                     causing justifiable reliance   Commercial Nat. Bank v.                                       Sys. Eng’g and Sec., Inc. v.     1089, 1091 (La. Ct.        Ct. App. 2005).            La. Civ. Code Ann. art.
                     with resulting injury.”        Audubon Meadow Part.,                                         Sci. & Eng’s Ass’ns, Inc., 962   App. 2007).                                           2315 tort, negligent
                                                    566 So.2d 1136, 1139                                          So. 2d 1089, 1091 (La. Ct.                                                             misrepresentation
                     Sys. Eng’g and Sec., Inc. v.   (La.App. 2d Cir.1990).                                        App. 2007).                                                                            entitles a successful
                     Sci. & Eng’s Ass’ns, Inc.,                                                                                                                                                          plaintiff to an award of
                     962 So. 2d 1089, 1091 (La.                                                                                                                                                          damages for mental
                     Ct. App. 2007).                                                                                                                                                                     anguish, pain and
                                                                                                                                                                                                         suffering.

                                                                                                                                                                                                         La. C.C. Art. 2315.




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                                                       VARIATIONS IN STATE INTENTIONAL/NEGLIGENT MISREPRESENTATION LAWS

                           Intentional                        Negligent                                                                                       Scienter                                                               Other Defenses &
                                                                                                                         Reliance/Justifiable               Requirement            Standard of Proof             Damages &               Features
   Jurisdiction         Misrepresentation                 Misrepresentation             Statute of Limitations
                                                                                                                         Reliance/Causation                                        for Fraud Claims               Remedies
                            Elements                          Elements
MAINE                “To summarize, a defendant        “1) the plaintiff was          Six years after discovery.      Justifiably reliance needed for   Knowledge or              Elements of fraudulent    Negligent
                     is liable for fraud or deceit     supplied false information                                     both.                             recklessness and intent   misrepresentation must    misrepresentation
                     if he (1) makes a false           by the defendant; 2) of a      14 Me. Rev. Stat. Ann. § 859.                                     to induce reliance must   be proved by clear and    damages are limited to
                     representation (2) of a           material fact; 3) the                                          Knowlton v. Shaw, 2011 U.S.       be present for            convincing evidence.      out-of-pocket loss.
                     material fact (3) with            defendant did not exercise                                     Dist. LEXIS 62549 (D. Me.         intentional
                     knowledge of its falsity or       reasonable care or                                             June 13, 2011).                   misrepresentation.        Maine Eye Care            Chapman v. Rideout,
                     in reckless disregard of          competence in                                                                                                              Assocs. P.A. v. Gorman,   568 A.2d 829, 830
                     whether it is true or false (4)   communicating the                                              Letellier v. Small, 400 A.2d      Letellier v. Small, 400   890 A.2d 707, 711 (Me.    (Me. 1990).
                     for the purpose of inducing       information; and, 3) the                                       371, 376 (Me. 1979).              A.2d 371, 376 (Me.        2006).
                     another to act or to refrain      plaintiff justifiably relied                                                                     1979).                                              Benefit of the bargain
                     from acting in reliance upon      on that false information                                                                                                  The standard is           is used to calculate
                     it, and (5) the plaintiff         causing him economic                                                                                                       preponderance for a       damages for fraud.
                     justifiably relies upon the       harm. Recovery is limited                                                                                                  negligent
                     representation as true and        to matters in which the                                                                                                    misrepresentation         Nelson v. Leo's Auto
                     acts upon it to his damage.”      parties have a pecuniary                                                                                                   claim.                    Sales, Inc., 158 Me.
                                                       interest and to persons the                                                                                                                          368, 373 (Me. 1962).
                     Letellier v. Small, 400 A.2d      speaker intended to benefit                                                                                                Bradley v. Kryvicky,
                     371, 376 (Me. 1979).              by providing the                                                                                                           2007 U.S. Dist. LEXIS     Punitive damages
                                                       information.”                                                                                                              68026 (D. Me. Sept. 13,   available for fraud.
                     “A plaintiff may justifiably                                                                                                                                 2007).
                     rely on the fraudulent            Knowlton v. Shaw, 2011                                                                                                                               St. Francis De Sales
                     misrepresentation of a            U.S. Dist. LEXIS 62549                                                                                                                               Fed. Credit Union v.
                     defendant, whether made           (D. Me. June 13, 2011).                                                                                                                              Sun Ins. Co. of N.Y.,
                     intentionally or recklessly,                                                                                                                                                           2002 ME 127, P21
                     without investigating the                                                                                                                                                              (Me. 2002).
                     truth or falsity of the
                     representation. Reliance is
                     unjustified only if the
                     plaintiff knows the
                     representation is false or its
                     falsity is obvious to him.”
                     Id.




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                                                       VARIATIONS IN STATE INTENTIONAL/NEGLIGENT MISREPRESENTATION LAWS

                           Intentional                        Negligent                                                                                        Scienter                                                                   Other Defenses &
                                                                                                                          Reliance/Justifiable               Requirement            Standard of Proof              Damages &                  Features
   Jurisdiction         Misrepresentation                 Misrepresentation               Statute of Limitations
                                                                                                                          Reliance/Causation                                        for Fraud Claims                Remedies
                            Elements                          Elements
MARYLAND             “(1) that the defendant made      “(1) the defendant, owing a      Three years after discovery.   Justifiable reliance needed for                             To prevail on a fraud-     Punitive damages
                     a false representation to the     duty of care to the plaintiff,   Md. Code Ann., Cts & Jud.      both.                             Knowledge or              based claim, a party       available for intentional
                     plaintiff, (2) that its falsity   negligently asserts a false      Proc., § 5-501.                                                  recklessness is           must prove each            misrepresentation.
                     was either known to the           statement; (2) the                                              HBCU Pro Football. LLC v.         necessary and the         element of the fraud by
                     defendant or that the             defendant intends that his                                      New Vision Sports Props.,         statement has to be       clear and convincing       HBCU Pro Football.
                     representation was made           statement will be acted                                         LLC, 2011 U.S. Dist. LEXIS        made for the purpose of   evidence. Cent. Truck      LLC v. New Vision
                     with reckless indifference as     upon by the plaintiff; (3)                                      55976 (D. Md. May 24,             defrauding plaintiff.     Ctr., Inc. v. Cent. GMC,   Sports Props., LLC,
                     to its truth, (3) that the        the defendant has                                               2011).                                                      Inc., 4 A.3d 515, 520      2011 U.S. Dist. LEXIS
                     misrepresentation was made        knowledge that the plaintiff                                                                      HBCU Pro Football.        (Md. Ct. Spec. App.        55976 (D. Md. May 24,
                     for the purpose of                will probably rely on the                                       Baney Corp. v. Agilysys NV,       LLC v. New Vision         2010).                     2011).
                     defrauding the plaintiff, (4)     statement, which, if                                            LLC, 773 F. Supp. 2d 593,         Sports Props., LLC,
                     that the plaintiff relied on      erroneous, will cause loss                                      608 (D. Md. 2011).                2011 U.S. Dist. LEXIS     Negligent                  “The proper measure of
                     the misrepresentation and         or injury; (4) the plaintiff,                                                                     55976 (D. Md. May 24,     misrepresentation may      damages in fraud and
                     had the right to rely on it,      justifiably, takes action in                                                                      2011).                    be proven by a             deceit cases is
                     and (5) that the plaintiff        reliance on the statement;                                                                                                  preponderance of the       determined by the so-
                     suffered compensable injury       and (5) the plaintiff suffers                                                                     Intention to induce       evidence.                  called ‘flexibility
                     resulting from the                damage proximately caused                                                                         reliance needed for                                  theory,’…”
                     misrepresentation.”               by the defendant's                                                                                negligent                 Kiddie Acad. Domestic
                                                       negligence.”                                                                                      misrepresentations.       Franchising LLC v.         Hinkle v. Rockville
                     HBCU Pro Football. LLC v.                                                                                                                                     Faith Enters. DC, LLC,     Motor Co., 262 Md.
                     New Vision Sports Props.,         Baney Corp. v. Agilysys                                                                           Baney Corp. v. Agilysys   2009 U.S. Dist. LEXIS      502, 512 (Md. 1971).
                     LLC, 2011 U.S. Dist.              NV, LLC, 773 F. Supp. 2d                                                                          NV, LLC, 773 F. Supp.     61989 (D. Md. July 17,
                     LEXIS 55976 (D. Md. May           593, 608 (D. Md. 2011).                                                                           2d 593, 608 (D. Md.       2009).                     Out of pocket for
                     24, 2011).                                                                                                                          2011).                                               negligent
                                                                                                                                                                                                              misrepresentation.

                                                                                                                                                                                                              Weisman v. Connors,
                                                                                                                                                                                                              312 Md. 428, 440 (Md.
                                                                                                                                                                                                              1988).




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                                                     VARIATIONS IN STATE INTENTIONAL/NEGLIGENT MISREPRESENTATION LAWS

                           Intentional                      Negligent                                                                                        Scienter                                                                  Other Defenses &
                                                                                                                        Reliance/Justifiable               Requirement             Standard of Proof              Damages &                Features
   Jurisdiction         Misrepresentation               Misrepresentation             Statute of Limitations
                                                                                                                        Reliance/Causation                                         for Fraud Claims                Remedies
                            Elements                        Elements
MASSACHUSETTS        “The elements of                 “In order to recover for      “Under Massachusetts law,        Justifiable reliance needed for   Knowledge of falsity       For fraud, the intent to   A simple finding of
                     [intentional]                   negligent misrepresentation    the statute of limitations for   both.                             and intent to induce the   deceive must be            intentional
                     misrepresentation are well      a plaintiff must prove that    fraud claims is three years                                        plaintiff to act are       established by “clear      misrepresentation
                     established: in order to        the defendant (1) in the       after the plaintiff learns or    Ricciardelli v. Home Depot        necessary for              and convincing”            “does not automatically
                     recover, plaintiff 'must        course of his business, (2)    reasonably should have           U.S.A., Inc., 679 F. Supp. 2d     intentional                evidence.                  trigger punitive
                     allege and prove that the       supplies false information     learned of the alleged           192, 210 (D. Mass. 2009).         misrepresentation.                                    damages. There must
                     defendant made a false          for the guidance of others     misrepresentations.”                                                                          Metris U.S.A., Inc. v.     be something more”
                     representation of a material    (3) in their business                                           Massachusetts v. Mylan            Massachusetts v. Mylan     Faro Techs., Inc., 2011
                     fact with knowledge of its      transactions, (4) causing      Young v. Deloitte & Touche,      Labs., 608 F. Supp. 2d 127,       Labs., 608 F. Supp. 2d     U.S. Dist. LEXIS           Technologies, S.A. v.
                     falsity for the purpose of      and resulting in pecuniary     LLP, No. 040807BLS, 2004         155 (D. Mass. 2008).              127, 155 (D. Mass.         105865 (D. Mass. Sept.     Cyrano, Inc., 460 F.
                     inducing the plaintiff to act   loss to those others (5) by    WL 2341344, at *10 (Mass.                                          2008).                     19, 2011).                 Supp. 2d 197, 206 (D.
                     thereon, and that the           their justifiable reliance     Sup. Ct. Sept. 20, 2004).                                                                                                Mass. 2006).
                     plaintiff relied upon the       upon the information, and                                                                                                    Preponderance for
                     representation as true and      (6) with failure to exercise                                                                                                 negligent                  Benefit of the bargain
                     acted upon it to his [or her]   reasonable care or                                                                                                           misrepresentation.         is the measure for
                     damage.”                        competence in obtaining or                                                                                                                              intentional
                                                     communicating the                                                                                                            Foisy v. Royal             misrepresentation
                     Massachusetts v. Mylan          information."                                                                                                                Maccabees Life Ins.        damages though it may
                     Labs., 608 F. Supp. 2d 127,                                                                                                                                  Co., 241 F. Supp. 2d       be limited by judicial
                     155 (D. Mass. 2008).            Ricciardelli v. Home Depot                                                                                                   65, 69 (D. Mass. 2002).    discretion. Out of
                                                     U.S.A., Inc., 679 F. Supp.                                                                                                                              pocket expenses is the
                                                     2d 192, 210 (D. Mass.                                                                                                                                   measure for negligent
                                                     2009).                                                                                                                                                  misrepresentation.

                                                                                                                                                                                                             Twin Fires Inv., LLC v.
                                                                                                                                                                                                             Morgan Stanley Dean
                                                                                                                                                                                                             Witter & Co., 445
                                                                                                                                                                                                             Mass. 411, 425 (Mass.
                                                                                                                                                                                                             2005).




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                                                      VARIATIONS IN STATE INTENTIONAL/NEGLIGENT MISREPRESENTATION LAWS

                           Intentional                       Negligent                                                                                       Scienter                                                                   Other Defenses &
                                                                                                                        Reliance/Justifiable               Requirement             Standard of Proof              Damages &                 Features
   Jurisdiction         Misrepresentation                Misrepresentation            Statute of Limitations
                                                                                                                        Reliance/Causation                                         for Fraud Claims                Remedies
                            Elements                         Elements
MICHIGAN             “To prove a claim of              “The elements of negligent   Six years after accrual. Mich.                                     Knowledge or               Fraud must be              Fraudulent intent may
                     fraudulent                       misrepresentation are: (1)    Comp. Laws. Ann. §               Justifiable reliance needed for   recklessness is            established by clear and   give rise to punitive
                     misrepresentation, or            justifiable and detrimental   600.5813.                        both.                             necessary and the          convincing evidence        damages.
                     common-law fraud, a              reliance on (2) information                                                                      statement has to be        and must never be          Williams v. Polgar, 391
                     plaintiff must establish that:   provided without                                               Wier v. Countrywide Bank,         made for the purpose of    presumed. Foodland         Mich. 6, 21 (Mich.
                     (1) the defendant made a         reasonable care (3) by one                                     N.A., 2011 U.S. Dist. LEXIS       inducing reliance by the   Distrib. v. Al-Naimi,      1974).
                     material representation; (2)     who owed a duty of care.”                                      35066 ( E.D. Mich. Mar. 31,       plaintiff.                 559 N.W.2d 379, 381
                     the representation was false;                                                                   2011).                                                       (Mich. App. 1996).         The damages for
                     (3) when the representation      Wier v. Countrywide Bank,                                                                                                                              negligent
                     was made, the defendant          N.A., 2011 U.S. Dist.                                          Roberts v. Saffell, 760           Roberts v. Saffell, 760                               misrepresentation are
                     knew that it was false, or       LEXIS 35066 ( E.D. Mich.                                       N.W.2d 715, 719 (Mich. Ct.        N.W.2d 715,                Preponderance for          out of pocket expenses,
                     made it recklessly, without      Mar. 31, 2011).                                                App. 2008).                       719 (Mich. Ct. App.        negligence.                never the benefit of the
                     knowledge of its truth, and                                                                                                       2008).                                                bargain.
                     as a positive assertion; (4)                                                                                                                                 Aebig v. Cox, 2005
                     the defendant made it with                                                                                                                                   Mich. App. LEXIS 270       Law Offices of
                     the intention that the                                                                                                                                       (Mich. Ct. App. Feb. 8,    Lawrence J Stockler,
                     plaintiff should act upon it;                                                                                                                                2005).                     P.C. v. Rose, 174 Mich.
                     (5) the plaintiff acted in                                                                                                                                                              App. 14, 44 (Mich. Ct.
                     reliance upon the                                                                                                                                                                       App. 1989).
                     representation; and (6) the
                     plaintiff thereby suffered                                                                                                                                                              Benefit of the bargain
                     injury.” Roberts v. Saffell,                                                                                                                                                            is used to calculate
                     760 N.W.2d 715,                                                                                                                                                                         damages for fraud.
                     719 (Mich. Ct. App. 2008).
                                                                                                                                                                                                             Wolbrink v. Sorr, 341
                                                                                                                                                                                                             Mich. 512, 521 (Mich.
                                                                                                                                                                                                             1954).




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                                                      VARIATIONS IN STATE INTENTIONAL/NEGLIGENT MISREPRESENTATION LAWS

                           Intentional                       Negligent                                                                               Scienter                                                                  Other Defenses &
                                                                                                                    Reliance/Justifiable           Requirement             Standard of Proof             Damages &                 Features
   Jurisdiction         Misrepresentation                Misrepresentation            Statute of Limitations
                                                                                                                    Reliance/Causation                                     for Fraud Claims               Remedies
                            Elements                         Elements
MINNESOTA            “In Minnesota, a plaintiff        “The elements of negligent   Six years after discovery.    Reasonable reliance needed                              Fraud must be proven      Punitive damages may
                     must prove five elements to      misrepresentation are (1) a   Minn. Stat. Ann. § 541.05.   for both.                     Knowledge or               by clear and convincing   be awarded for
                     succeed on a claim for           duty of reasonable care in                                                               recklessness is            evidence. Beasley v.      fraudulent-
                     fraudulent representation:       conveying information; (2)                                 Anderson v. Countrywide       necessary and the          Medin, 479 N.W.2d 95,     misrepresentation
                     (1) there was a false            breach of that duty by                                     Home Loans, 2011 U.S. Dist.   statement has to be        99 (Minn. App. 1992).     claims.
                     representation by a party of     negligently giving false                                   LEXIS 45966, 15-16 (D.        made for the purpose of
                     a past or existing material      information; (3) reasonable                                Minn. Apr. 7, 2011)           inducing reliance by the   Preponderance for         Trimily, Inc. v. Delice
                     fact susceptible of              reliance on the                                                                          plaintiff.                 negligence.               Group, 2007 U.S. Dist.
                     knowledge; (2) made with         misrepresentations, which                                  Flynn v. Am. Home Prods                                                            LEXIS 47965 (D.
                     knowledge of the falsity of      proximately caused the                                     Corp., 627 N.W.2d 342, 349    Flynn v. Am. Home          Hebrink v. Farm           Minn. June 25, 2007).
                     the representation or made       injury; and (4) damages.”                                  (Minn. Ct. 2001).             Prods Corp., 627           Bureau Life Ins. Co.,
                     as of the party's own                                                                                                     N.W.2d 342, 349            664 N.W.2d 414, 420       Minnesota recognizes
                     knowledge without knowing        Anderson v. Countrywide                                                                  (Minn. Ct. 2001).          (Minn. Ct. App. 2003).    the “out-of-pocket” rule
                     whether it was true or false;    Home Loans, 2011 U.S.                                                                                                                         as the proper measure
                     (3) with the intention to        Dist. LEXIS 45966, 15-16                                                                                                                      of damages for
                     induce another to act in         (D. Minn. Apr. 7, 2011)                                                                                                                       negligent
                     reliance thereon; (4) that the                                                                                                                                                 misrepresentation.
                     representation caused the
                     other party to act in reliance                                                                                                                                                 Lobe Enters. v. Dotsen,
                     thereon; and (5) that the                                                                                                                                                      360 N.W.2d 371, 373
                     party suffer pecuniary                                                                                                                                                         (Minn. App. 1985).
                     damage as a result of the
                     reliance.” Flynn v. Am.                                                                                                                                                        Same for fraud cases.
                     Home Prods Corp., 627
                     N.W.2d 342, 349 (Minn. Ct.                                                                                                                                                     B.F. Goodrich Co. v.
                     App. 2001).                                                                                                                                                                    Mesabi Tire Co., 430
                                                                                                                                                                                                    N.W.2d 180, 182
                                                                                                                                                                                                    (Minn. 1988).




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                                                      VARIATIONS IN STATE INTENTIONAL/NEGLIGENT MISREPRESENTATION LAWS

                           Intentional                       Negligent                                                                                    Scienter                                                                    Other Defenses &
                                                                                                                       Reliance/Justifiable             Requirement              Standard of Proof              Damages &                 Features
   Jurisdiction         Misrepresentation                Misrepresentation              Statute of Limitations
                                                                                                                       Reliance/Causation                                        for Fraud Claims                Remedies
                            Elements                         Elements
MISSISSIPPI          “[I]n order to establish         “(1) a misrepresentation or     Three years after accrual.    Reasonable reliance is needed   Knowledge of                The elements of fraud,     In Mississippi, to
                     fraud, the following             omission of a fact; (2) that    Miss. Code Ann. § 15-1-49;    for both.                       statements falsity or       which must be proven       recover punitive
                     elements must be proven:         the representation or           Sanderson Farms, Inc. v.                                      ignorance of its truth is   by clear and convincing    damages based on a
                     (1) a representation; (2) its    omission is material or         Ballard, 917 So.2d 783, 789   Poe v. Summers, 11 So.3d        necessary along with        evidence. O.W.O. Invs.     claim of fraud, the
                     falsity; (3) its materiality;    significant; (3) that the       (Miss. 2005).                 129, 133 (Miss. Ct. App.        intent to induce            v. Stone Inv. Co., Inc.,   plaintiffs must prove by
                     (4) the speaker's knowledge      person/entity charged with                                    2009).                          reliance.                   32 So.3d 439, 446          clear and convincing
                     of its falsity or ignorance of   the negligence failed to                                                                                                  (Miss. 2010).              evidence that “the
                     its truth; (5) the speaker's     exercise that degree of                                       Davis v. AutoZone, Inc., 2011   Poe v. Summers, 11                                     defendant …
                     intent that the representation   diligence and expertise the                                   U.S. Dist. LEXIS 113839         So.3d 129, 133 (Miss.       “In order to establish     committed actual
                     should be acted upon by the      public is entitled to expect                                  (S.D. Miss. Oct. 1, 2011).      Ct. App. 2009).             negligent                  fraud.”
                     hearer and in the manner         of such persons/entities; (4)                                                                                             misrepresentation the
                     reasonably contemplated;         that the plaintiff reasonably                                                                                             following elements         Miss. Code Ann. § 11-
                     (6) the hearer's ignorance of    relied upon the                                                                                                           must be proven by a        1-65.
                     its falsity; (7) the hearer's    misrepresentation or                                                                                                      preponderance of the
                     reliance on the                  omission; and (5) that the                                                                                                evidence”                  For fraud, damages are
                     representation's truth; (8)      plaintiff suffered damages                                                                                                                           “actual damages” not
                     the hearer's right to rely       as a direct and proximate                                                                                                 Davis v. AutoZone, Inc.,   just out of pocket
                     thereon; and (9) the hearer's    result of such reasonable                                                                                                 2011 U.S. Dist. LEXIS      expenses.
                     consequent and proximate         reliance.                                                                                                                 113839 (S.D. Miss.
                     injury.”                                                                                                                                                   Oct. 1, 2011).             Hobbs Auto., Inc. v.
                                                      Davis v. AutoZone, Inc.,                                                                                                                             Dorsey, 914 So. 2d
                     Poe v. Summers, 11 So.3d         2011 U.S. Dist. LEXIS                                                                                                                                148, 154 (Miss. 2005).
                     129, 133 (Miss. Ct. App.         113839 (S.D. Miss. Oct. 1,
                     2009).                           2011).




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                                                       VARIATIONS IN STATE INTENTIONAL/NEGLIGENT MISREPRESENTATION LAWS

                           Intentional                        Negligent                                                                                        Scienter                                                                   Other Defenses &
                                                                                                                          Reliance/Justifiable               Requirement              Standard of Proof             Damages &                 Features
   Jurisdiction         Misrepresentation                 Misrepresentation             Statute of Limitations
                                                                                                                          Reliance/Causation                                          for Fraud Claims               Remedies
                            Elements                          Elements
MISSOURI             “To make a submissible            “(1) the speaker supplied      Statute of limitations for       Justifiable reliance for needed   For negligent               “The party alleging       Punitive damages are
                     case of fraudulent                information in the course of   fraud and misrepresentation is   for both.                         misrepresentation           fraud bears the burden    available for fraudulent
                     misrepresentation, a              his business; (2) because of   five years from when the                                           speaker needs to            of proving each element   misrepresentation.
                     plaintiff is required to prove    the speaker's failure to       fraud was discoverable by the    Renaissance Leasing, LLC v.       intentionally provide       and must satisfy that
                     nine essential elements: (1)      exercise reasonable care,      aggrieved party, and it is the   Vermeer Mfg. Co., 322             information for a           burden with clear and     Wells v. Farmers
                     a representation; (2) its         the information was false;     aggrieved party's duty to        S.W.3d 112, 131-32 (Mo.           business purpose.           convincing evidence.”     Alliance Mut. Ins. Co.,
                     falsity; (3) its materiality;     (3) the information was        inquire so as to discover the    2010).                                                                                  2009 U.S. Dist. LEXIS
                     (4) the speaker's knowledge       intentionally provided by      facts surrounding the fraud.                                       Renaissance Leasing,        Kempton v. Dugan, 224     10032 (E.D. Mo. Feb.
                     of its falsity or ignorance of    the speaker for the                                             Richards v. ABN AMRO              LLC v. Vermeer Mfg.         S.W.3d 83, 87 (Mo.        11, 2009).
                     its truth; (5) the speaker's      guidance of limited persons    Corley v. Jacobs, 820 S.W.2d     Mortg. Group, Inc., 261           Co., 322 S.W.3d 112,        App. 2007).
                     intent that it should be acted    in a particular business       668, 672 (Mo. Ct. App.           S.W.3d 603, 607 (Mo. Ct.          131-32 (Mo. 2010).                                    “Generally, a victim of
                     on by the person and in the       transaction; (4) the hearer    1991).                           App. 2008).                                                   Based on the holding in   fraud can either return
                     manner reasonably                 justifiably relied on the                                                                         Knowledge of                that case and its         what he purchased and
                     contemplated; (6) the             information; and (5) due to                                                                       statements falsity or       progeny, the plaintiff    get his money back
                     hearer's ignorance of the         the hearer's reliance on the                                                                      ignorance of its truth is   must establish by a       (recission), or keep
                     falsity of the representation;    information, the hearer                                                                           necessary along with        preponderance of the      what he purchased and
                     (7) the hearer's reliance on      suffered a pecuniary loss.”                                                                       intent to induce            evidence the following    sue for damages
                     the representation being                                                                                                            reliance.                   elements in a cause of    measured as the
                     true; (8) the hearer's right to   Renaissance Leasing, LLC                                                                                                      action for negligent      difference between its
                     rely thereon; and (9) the         v. Vermeer Mfg. Co., 322                                                                          Richards v. ABN             misrepresentation.        value as represented
                     hearer's consequent and           S.W.3d 112, 131-32 (Mo.                                                                           AMRO Mortg. Group,                                    and its true value as of
                     proximately caused injury.”       2010).                                                                                            Inc., 261 S.W.3d 603,       Landmark Bank v.          the date of purchase
                                                                                                                                                         607 (Mo. Ct. App.           McGlinn, 684 F. Supp.     (benefit of the
                     Richards v. ABN AMRO                                                                                                                2008).                      1500, 1505 (E.D. Mo.      bargain).”
                     Mortg. Group, Inc., 261                                                                                                                                         1988).
                     S.W.3d 603, 607 (Mo. Ct.                                                                                                                                                                  Davis v. Cleary Bldg.
                     App. 2008) (internal                                                                                                                                                                      Corp., 143 S.W.3d 659,
                     citations omitted).                                                                                                                                                                       668 (Mo. Ct. App.
                                                                                                                                                                                                               2004).

                                                                                                                                                                                                               A claim for negligent
                                                                                                                                                                                                               misrepresentation is
                                                                                                                                                                                                               limited to pecuniary
                                                                                                                                                                                                               loss (out of pocket).

                                                                                                                                                                                                               Renaissance Leasing,
                                                                                                                                                                                                               LLC v. Vermeer Mfg.
                                                                                                                                                                                                               Co., 322 S.W.3d 112,
                                                                                                                                                                                                               131-32 (Mo. 2010).




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                                                      VARIATIONS IN STATE INTENTIONAL/NEGLIGENT MISREPRESENTATION LAWS

                           Intentional                       Negligent                                                                                           Scienter                                                                     Other Defenses &
                                                                                                                             Reliance/Justifiable              Requirement              Standard of Proof              Damages &                  Features
   Jurisdiction         Misrepresentation                Misrepresentation                 Statute of Limitations
                                                                                                                             Reliance/Causation                                         for Fraud Claims                Remedies
                            Elements                         Elements
MONTANA              “[T]he nine elements of          “1. the defendant made a           “Fraud claims are subject to a   Justifiable reliance is an      Knowledge of                 “A mere suspicion of       Punitive damages are
                     actual fraud: (1) a              representation as to a past        two-year statute of              element for both.               statements falsity or        fraud is not sufficient,   available if clear and
                     representation; (2) falsity of   or existing material fact; 2.      limitations.”                                                    ignorance of its truth is    fraud must be proven       convincing evidence
                     the representation; (3)          the representation must                                                                             necessary for                by a preponderance of      that defendant was
                     materiality of the               have been untrue; 3.               Osterman v. Sears, Roebuck       Durbin v. Ross, 916 P.2d 758,   intentional                  the evidence.”             guilty of actual fraud or
                     representation; (4) speaker's    regardless of its actual           & Co., 80 P.3d 435, 440          762 (Mont. 1996).               misrepresentation along                                 actual malice.” Mont.
                     knowledge of the falsity of      belief, the defendant must         (Mont. 2003).                                                    with intent to induce        In re Estate of            Code Ann. § 27-1-
                     the representation or            have made the                                                       CQI, Inc. v. Mt. West Farm      reliance.                    Kindsfather, 108 P.3d      221(1).
                     ignorance of its truth; (5)      representation without any                                          Bureau Mut. Ins. Co., 2010                                   487, 490 (Mont. 2005).
                     speaker's intent it should be    reasonable ground for                                               U.S. Dist. LEXIS 107389,        Durbin v. Ross, 916                                     The damages
                     relied upon; (6) the hearer's    believing it to be true; 4.                                         26-27 (D. Mont. Oct. 7,         P.2d 758, 762 (Mont.                                    recoverable for a
                     ignorance of the falsity of      the representation must                                             2010).                          1996).                                                  negligent
                     the representation; (7) the      have been made with the                                                                                                                                     misrepresentation are
                     hearer's reliance on the         intent to induce the plaintiff                                                                      “[N]egligent                                            those necessary to
                     representation; (8) the          to rely on it; 5. the plaintiff                                                                     misrepresentation does                                  compensate the
                     hearer's right to rely on the    must have been unaware of                                                                           not require 'intent to                                  plaintiff for the
                     representation; and (9)          the falsity of the                                                                                  deceive' but, . . . intent                              pecuniary loss of which
                     consequent and proximate         representation; it must have                                                                        to induce reliance on a                                 the misrepresentation is
                     injury caused by the             acted in reliance upon the                                                                          representation without                                  a legal cause, including
                     reliance on the                  truth of the representation                                                                         any reasonable ground                                   (a) the difference
                     representation.”                 and it must have been                                                                               to believe that it is                                   between the value of
                                                      justified in relying on the                                                                         true.”                                                  what he has received in
                     Durbin v. Ross, 916 P.2d         representation; and 6. the                                                                                                                                  the transaction and its
                     758, 762 (Mont. 1996).           plaintiff, as a result if his or                                                                    Tripp v. Jeld-Wen, Inc.,                                purchase price or other
                                                      her reliance, sustained                                                                             2005 MT 121, 327                                        value given for it; and
                                                      damage.                                                                                             Mont. 146, 112 P.3d                                     (b) pecuniary loss
                                                                                                                                                          1018, P 30 (Mont.                                       suffered otherwise as a
                                                      CQI, Inc. v. Mt. West Farm                                                                          2005).                                                  consequence of the
                                                      Bureau Mut. Ins. Co., 2010                                                                                                                                  plaintiff's reliance on
                                                      U.S. Dist. LEXIS 107389,                                                                                                                                    the misrepresentation
                                                      26-27 (D. Mont. Oct. 7,
                                                      2010).                                                                                                                                                      United First Fed. Sav.
                                                                                                                                                                                                                  & Loan Ass'n v. White-
                                                                                                                                                                                                                  Stevens, Ltd., 253
                                                                                                                                                                                                                  Mont. 242, 249 (Mont.
                                                                                                                                                                                                                  1992).




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                                                     VARIATIONS IN STATE INTENTIONAL/NEGLIGENT MISREPRESENTATION LAWS

                           Intentional                      Negligent                                                                                    Scienter                                                                Other Defenses &
                                                                                                                         Reliance/Justifiable          Requirement             Standard of Proof             Damages &               Features
   Jurisdiction         Misrepresentation               Misrepresentation             Statute of Limitations
                                                                                                                         Reliance/Causation                                    for Fraud Claims               Remedies
                            Elements                        Elements
NEBRASKA             “In order to maintain an        “(1) a duty of reasonable      When the specific cause of        Reasonable reliance is       Knowledge or               Courts of law require     Punitive damages not
                     action for fraudulent           care in conveying              action in the petition is one     necessary for both.          recklessness is            proof of fraud by a       allowed.
                     misrepresentation, a            information; (2) a breach of   for fraud, the statute which                                   necessary and the          preponderance of the      Abel v. Conover, 170
                     plaintiff must allege and       that duty by giving false      applies in this instance is the   Delanghe v. Conley, 2006     statement has to be        evidence, while courts    Neb. 926, 104 N.W.2d
                     prove the following             information; (3) reasonable    four-year statute of              U.S. Dist. LEXIS 44972 (D.   made for the purpose of    of equity require clear   684, 688 (Neb. 1960).
                     elements: (1) that a            reliance on the                limitations. McGinley v.          Neb. June 29, 2006).         inducing reliance by the   and convincing
                     representation was made;        misrepresentation, which       McGinley, 583 N.W.2d 77,                                       plaintiff.                 evidence.                 The measure of
                     (2) that the representation     reliance is the proximate      80 (Neb. Ct. App. 1998).                                                                                            recovery is
                     was false; (3) that when        cause of physical injury;                                        Schuelke v. Wilson, 549      Delanghe v. Conley,        Huffman v. Poore, 569     compensation for the
                     made, the representation        and (4) damages.”                                                N.W.2d 176, 181-82 (Neb.     2006 U.S. Dist. LEXIS      N.W.2d 549, 559 (Neb.     injury sustained. Id.
                     was known to be false or                                                                         1996).                       44972 (D. Neb. June        Ct. App. 1997).
                     made recklessly without         Delanghe v. Conley, 2006                                                                      29, 2006).                                           The damages for a
                     knowledge of its truth and      U.S. Dist. LEXIS 44972                                                                                                                             negligent
                     as a positive assertion; (4)    (D. Neb. June 29, 2006).                                                                                                                           misrepresentation are
                     that it was made with the                                                                                                                                                          those necessary to
                     intention that the plaintiff                                                                                                                                                       compensate the
                     should rely upon it; (5) that                                                                                                                                                      plaintiff for the
                     the plaintiff reasonably did                                                                                                                                                       pecuniary loss to him
                     so rely; and (6) that he or                                                                                                                                                        of which the
                     she suffered damage as a                                                                                                                                                           misrepresentation is a
                     result.”                                                                                                                                                                           legal cause.

                     Schuelke v. Wilson, 549                                                                                                                                                            Burke v. Harman, 6
                     N.W.2d 176, 181-82 (Neb.                                                                                                                                                           Neb. App. 309, 340
                     1996).                                                                                                                                                                             (Neb. Ct. App. 1998).




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                                                       VARIATIONS IN STATE INTENTIONAL/NEGLIGENT MISREPRESENTATION LAWS

                           Intentional                        Negligent                                                                                      Scienter                                                                     Other Defenses &
                                                                                                                          Reliance/Justifiable             Requirement             Standard of Proof               Damages &                  Features
   Jurisdiction         Misrepresentation                 Misrepresentation             Statute of Limitations
                                                                                                                          Reliance/Causation                                       for Fraud Claims                 Remedies
                            Elements                          Elements
NEVADA               “1. A false representation        “1) a representation that is   Three years after discovery.     Justifiable reliance is         Knowledge or belief of     “[B]urden is on plaintiff   Punitive damages may
                     made by the defendant;            false; 2) that the                                              necessary for both.             falsity or insufficient    to establish fraud by       be awarded upon clear
                                                       representation was made in     Nev. Rev. Stat. 11.202 (3)(d).                                   basis for making the       clear and convincing        and convincing
                     2. Defendant's knowledge or       the course of the                                               G.K. Las Vegas Ltd. P'ship v.   representation and the     evidence.”                  evidence of fraud,
                     belief that the representation    defendant's business or in                                      Simon Prop. Group, Inc., 460    statement has to be                                    oppression, or malice,
                     is false (or insufficient basis   any action in which he has                                      F. Supp. 2d 1246, 1262 (D.      made for the purpose of    Hindenes v. Whitney by      express or implied.
                     for making the                    a pecuniary interest; 3) the                                    Nev. 2006).                     inducing reliance by the   Vogelheim, 697 P.2d         Nev. Rev. Stat. §
                     representation);                  representation was for the                                                                      plaintiff.                 932, 933-34 (Nev.           42.005(1). For punitive
                                                       guidance of others in their                                     Bulbman, Inc. v. Nevada Bell,                              1985).                      damages purposes,
                     3. Defendant's intention to       business transactions; 4)                                       825 P.2d 588, 592 (Nev.         Bulbman, Inc. v.                                       Nevada law defines: (1)
                     induce the plaintiff to act or    the representation was                                          1992).                          Nevada Bell, 825 P.2d      Preponderance for           oppression means
                     to refrain from acting in         justifiably relied upon; 5)                                                                     588, 592 (Nev. 1992).      negligence.                 despicable conduct that
                     reliance upon the                 that such reliance resulted                                                                                                                            subjects a person to
                     misrepresentation;                in pecuniary loss to the                                                                                                   Butcher v. Advanced         cruel and unjust
                                                       relying party; and 6) that                                                                                                 Mineral Techs., Inc.,       hardship with
                     4. Plaintiff's justifiable        the defendant failed to                                                                                                    2011 U.S. Dist. LEXIS       conscious disregard of
                     reliance upon the                 exercise reasonable care or                                                                                                21493 (D. Nev. Mar. 2,      the rights of the person;
                     misrepresentation; and            competence in obtaining or                                                                                                 2011).                      (2) fraud to be an
                                                       communicating the                                                                                                                                      intentional
                     5. Damage to the plaintiff        information.”                                                                                                                                          misrepresentation or
                     resulting from such                                                                                                                                                                      concealment of a
                     reliance.”                        G.K. Las Vegas Ltd. P'ship                                                                                                                             material fact with the
                                                       v. Simon Prop. Group, Inc.,                                                                                                                            intent to deprive
                     Bulbman, Inc. v. Nevada           460 F. Supp. 2d 1246, 1262                                                                                                                             another person of his or
                     Bell, 825 P.2d 588, 592           (D. Nev. 2006).                                                                                                                                        her rights or property;
                     (Nev. 1992).                                                                                                                                                                             (3) malice, express or
                                                                                                                                                                                                              implied, to be
                                                                                                                                                                                                              despicable conduct
                                                                                                                                                                                                              which is engaged in
                                                                                                                                                                                                              with a conscious
                                                                                                                                                                                                              disregard of the rights
                                                                                                                                                                                                              or safety of others; and
                                                                                                                                                                                                              (4) conscious disregard
                                                                                                                                                                                                              to mean knowledge of
                                                                                                                                                                                                              the probable harmful
                                                                                                                                                                                                              consequences of a
                                                                                                                                                                                                              wrongful act and a
                                                                                                                                                                                                              willful and deliberate
                                                                                                                                                                                                              failure to act to avoid
                                                                                                                                                                                                              those consequences.
                                                                                                                                                                                                              Nev. Rev. Stat. §
                                                                                                                                                                                                              42.001.

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                                                     VARIATIONS IN STATE INTENTIONAL/NEGLIGENT MISREPRESENTATION LAWS

                           Intentional                      Negligent                                                                                        Scienter                                                                      Other Defenses &
                                                                                                                        Reliance/Justifiable               Requirement              Standard of Proof               Damages &                  Features
   Jurisdiction         Misrepresentation               Misrepresentation               Statute of Limitations
                                                                                                                        Reliance/Causation                                          for Fraud Claims                 Remedies
                            Elements                        Elements
NEW HAMPSHIRE        “In order to prove deceit,      “Under the common law of         Three years after discovery.   To prevail on a claim for         “The tort of intentional    “Fraud must be proved       “In a civil action
                     the plaintiff must prove that   New Hampshire, "[t]he                                           either negligent or intentional   misrepresentation, or       by clear and convincing     founded on a tort,
                     the defendant intentionally     elements of . . . a claim [for   N.H. Rev. Stat. Ann. § 508:4   misrepresentation, a plaintiff    fraud, must be proved       evidence, but such          nothing but
                     made material false             negligent                                                       must prove justifiable            by showing that the         proof may be founded        compensatory damages
                     statements to the plaintiff,    misrepresentation] are a                                        reliance or both.                 representation was          upon circumstantial         can be awarded, but the
                     which the defendant knew        negligent misrepresentation                                                                       made with knowledge         evidence.”                  injured party is entitled
                     to be false or which he had     of a material fact by the                                       BAE Sys. Info. & Elecs. Sys.      of its falsity or with                                  to full compensation
                     no knowledge or belief were     defendant and justifiable                                       Integration, Inc. v. SpaceKey     conscious indifference      Snow v. Am. Morgan          for all the injury
                     true, for the purpose of        reliance by the plaintiff.”                                     Components, Inc., 2011 U.S.       to its truth and with the   Horse Ass’n, Inc., 686      sustained, mental as
                     causing, and which does                                                                         Dist. LEXIS 123094 (D.N.H.        intention of causing        A.2d 1168, 1170 (N.H.       well as material.”
                     cause, the plaintiff            BAE Sys. Info. & Elecs.                                         Oct. 24, 2011).                   another person to rely      1996) (internal citations
                     reasonably to rely to his       Sys. Integration, Inc. v.                                                                         on the representation.”     omitted).                   Kimball v. Holmes, 60
                     detriment.”                     SpaceKey Components,                                                                              Patch v. Arsenault, 139                                 N.H. 163, 164 (1980).
                                                     Inc., 2011 U.S. Dist.                                                                             N.H. 313, 319, (1995).      The plaintiff must
                     Caledonia, Inc. v. Trainor,     LEXIS 123094, 39-40                                                                                                           prove the elements of       Benefits of the bargain
                     459 A.2d 613, 617-18 (N.H.      (D.N.H. Oct. 24, 2011).                                                                           The standard of care in     negligent                   damages are awarded
                     1983).                                                                                                                            a negligent                 misrepresentation by a      for fraud.
                                                                                                                                                       misrepresentation case      preponderance of the
                                                                                                                                                       has been articulated as     evidence.                   Lampesis v. Comolli,
                                                                                                                                                       follows: “It is the duty                                101 N.H. 279, 283
                                                                                                                                                       of one who volunteers       See Patch v. Arsenault,     (N.H. 1958).
                                                                                                                                                       information to another      139 N.H. 313, 319-20,
                                                                                                                                                       not having equal            (1995).                     Damages for negligent
                                                                                                                                                       knowledge, with the                                     misrepresentation are
                                                                                                                                                       intention that he will                                  calculated using the out
                                                                                                                                                       act upon it, to exercise                                of pocket rule.
                                                                                                                                                       reasonable care to
                                                                                                                                                       verify the truth of his                                 Eno Brick Corp. v.
                                                                                                                                                       statements before                                       Barber-Greene Co.,
                                                                                                                                                       making them.”                                           109 N.H. 156, 161
                                                                                                                                                                                                               (N.H. 1968).
                                                                                                                                                       Mills v. Dupont, 2008
                                                                                                                                                       N.H. Super. LEXIS 18,
                                                                                                                                                       6-7 (N.H. Super. Ct.
                                                                                                                                                       2008).




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                                                      VARIATIONS IN STATE INTENTIONAL/NEGLIGENT MISREPRESENTATION LAWS

                           Intentional                       Negligent                                                                                          Scienter                                                                   Other Defenses &
                                                                                                                           Reliance/Justifiable               Requirement             Standard of Proof              Damages &                 Features
   Jurisdiction         Misrepresentation                Misrepresentation              Statute of Limitations
                                                                                                                           Reliance/Causation                                         for Fraud Claims                Remedies
                            Elements                         Elements
NEW JERSEY           “In order to establish a         “1) the defendant               Six-year statute of limitations   Justifiable reliance needed for   The elements of            “Fraud is not presumed;    “In order to recover
                     cause of action under            negligently provided false      applied to yacht buyer's          both.                             negligent                  it must be proven          punitive damages,
                     common law fraud,                information; 2) the plaintiff   claims against seller based on                                      misrepresentation are      through clear and          Plaintiffs must
                     plaintiffs must demonstrate      was a reasonably                common-law fraud and the          Barry L. Kahn Defined Ben.        essentially the same as    convincing evidence.”      demonstrate that
                     that: (1) defendant made a       foreseeable recipient of that   Consumer Fraud Act.               Pension Plan v. Township of       those of common law                                   Defendant committed
                     material misrepresentation       information; 3) the plaintiff                                     Moorestown, 243 N.J. Super.       fraud except negligent     Stoecker v. Echevarria,    "an intentional
                     or omission of fact; (2)         justifiably relied on the       D’Angelo v. Miller Yacht          328, 337 (Ch.Div. 1990).          misrepresentation does     975 A.2d 975 (N.J.         wrongdoing in the
                     knowing the                      information; and 4) the         Sales, 619 A.2d 689, 691                                            not require scienter.      Super. Ct. App. Div.       sense of an 'evil-
                     misrepresentation to be false    false statements were a         (N.J. Super. Ct. App. Div.        McCall v. Metropolitan Life.                                 2009).                     minded act' or an act
                     or the omission to be            proximate cause of the          1993).                            Ins., 956 F. Supp. 1172, 1186     Gaelick v. Conn. Gen.                                 accompanied by a
                     material, and intending the      plaintiff's damages.”                                             (D.N.J. 1996).                    Life Ins. Co., 2011 U.S.   To prove negligent         wanton and wilful
                     other party to rely on it; and                                                                                                       Dist. LEXIS 95254          misrepresentation,         disregard of the rights
                     (3) the other party did in       McCall v. Metropolitan                                                                              (D.N.J. Aug. 25, 2011).    plaintiff must establish   of another.”
                     fact rely on the                 Life. Ins., 956 F. Supp.                                                                                                       by a preponderance of
                     misrepresentation or             1172, 1186 (D.N.J. 1996).                                                                                                      the evidence each of the   Fraud may give rise to
                     omission to its detriment.”                                                                                                                                     follow elements.           punitive damages.

                     Varacallo v. Mass. Mut. Life                                                                                                                                    Hoke, Inc. v. Cullinet     Barton v. RCI, LLC,
                     Ins. Co., 752 A.2d 807, 813                                                                                                                                     Software, Inc., 1992       2011 U.S. Dist. LEXIS
                     (N.J. Super. Ct. App. Div.                                                                                                                                      U.S. Dist. LEXIS 4616      80134 (D.N.J. July 22,
                     2000).                                                                                                                                                          (D.N.J. Mar. 18, 1992).    2011).

                                                                                                                                                                                                                New Jersey follows the
                                                                                                                                                                                                                “flexible theory” and
                                                                                                                                                                                                                the court may award
                                                                                                                                                                                                                either benefit of the
                                                                                                                                                                                                                bargain or out of pocket
                                                                                                                                                                                                                cost damages.

                                                                                                                                                                                                                Lipkowitz v. Hamilton
                                                                                                                                                                                                                Surgery Ctr., LLC, 415
                                                                                                                                                                                                                N.J. Super. 29, 35
                                                                                                                                                                                                                (App. Div. 2010).




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                                                     VARIATIONS IN STATE INTENTIONAL/NEGLIGENT MISREPRESENTATION LAWS

                           Intentional                      Negligent                                                                                Scienter                                                                     Other Defenses &
                                                                                                                 Reliance/Justifiable              Requirement              Standard of Proof               Damages &                 Features
   Jurisdiction         Misrepresentation               Misrepresentation            Statute of Limitations
                                                                                                                 Reliance/Causation                                         for Fraud Claims                 Remedies
                            Elements                        Elements
NEW MEXICO           “In order to prevail on a       “(1) negligent                Four years.                Intentional misrepresentation    “fraudulent                 Clear and convincing        Punitive or exemplary
                     fraud claim, a plaintiff must   misrepresentation may                                    requires detrimental reliance.   misrepresentation           standard of proof is        damages may be
                     prove the existence of (1) a    involve a statement that is   N.M. Stat. Ann. §37-1-4.                                    requires an intent to       applicable to cases         awarded only when the
                     misrepresentation of fact,      "literally true" but                                     Papatheofanis v. Allen, 242      deceive, while              concerning undue            conduct of the
                     (2) either knowledge of the     misleading; (2) negligent                                P.3d 358, 361 (N.M. Ct. App.     negligent                   influence; this standard    wrongdoer may be said
                     falsity of the representation   misrepresentation only                                   2010).                           misrepresentation only      requires fact finder to     to be maliciously
                     or recklessness on the part     requires a failure to                                                                     requires an intent that     reach abiding               intentional, fraudulent,
                     of the party making the         exercise ordinary care in                                                                 the plaintiff receive and   conviction as to truth of   oppressive, or
                     misrepresentation, (3) intent   obtaining or                                             As with fraud, reliance is an    be influenced by the        facts found.                committed recklessly or
                     to deceive and to induce        communicating the                                        element of negligent             statement where it is                                   with a wanton
                     reliance on the                 statement; (3)                                           misrepresentation.               reasonably foreseeable      Montoya v. Torres, 823      disregard to the
                     misrepresentation, and (4)      misrepresentation only                                                                    that the plaintiff would    P.2d 905, 909 (N.M.         plaintiffs’ rights.
                     detrimental reliance on the     requires an intent that the                              SKI Racing, Inc. v. Johnson,     be harmed if the            1991).
                     misrepresentation.”             plaintiff receive and be                                 2010 U.S. Dist. LEXIS            information conveyed                                    Loucks v. Albuquerque
                                                     influenced by the statement                              143645 n.9 (D.N.M. July 31,      was incorrect or            “Finally, while             National Bank. 418
                     Papatheofanis v. Allen, 242     where it is reasonably                                   2010).                           misleading.”                negligent                   P.2d 191, 199 (1966).
                     P.3d 358, 361 (N.M. Ct.         foreseeable that the                                                                                                  misrepresentation may
                     App. 2010).                     plaintiff would be harmed                                                                 State ex rel. Nichols v.    be proven by a              Out of pocket damages
                                                     if the information conveyed                                                               Safeco Ins. Co., 671        preponderance of the        are awarded for
                                                     was incorrect or                                                                          P.2d 1151, 1154 n.1         evidence.”                  negligent
                                                     misleading.”                                                                              (Ct. App.1983).                                         misrepresentation while
                                                                                                                                                                           Eoff v. Forrest, 109        benefit of the bargain
                                                     State ex rel. Nichols v.                                                                                              N.M. 695, 699, 789          damages are awarded
                                                     Safeco Ins. Co., 100 N.M.                                                                                             P.2d 1262, 1266 (1990).     for fraud.
                                                     440, 443 n.1, 671 P.2d
                                                     1151, 1154 n.1 (Ct.                                                                                                                               First Interstate Bank v.
                                                     App.1983).                                                                                                                                        Foutz, 107 N.M. 749,
                                                                                                                                                                                                       751 (N.M. 1988).




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                                                    VARIATIONS IN STATE INTENTIONAL/NEGLIGENT MISREPRESENTATION LAWS

                           Intentional                     Negligent                                                                                      Scienter                                                                   Other Defenses &
                                                                                                                     Reliance/Justifiable               Requirement             Standard of Proof              Damages &                 Features
   Jurisdiction         Misrepresentation              Misrepresentation              Statute of Limitations
                                                                                                                     Reliance/Causation                                         for Fraud Claims                Remedies
                            Elements                       Elements
NEW YORK             “The essential elements of a   “New York negligent             Six years.                    Justifiable/reasonable reliance   For intentional            “The elements of fraud     “Under New York law,
                     cause of action sounding in    misrepresentation claim                                       needed for both.                  misrepresentation          are narrowly defined,      such ‘out-of-pocket’
                     fraud are a                    requires them "to               Monaghan v. Ford Motor                                          plaintiff must have        requiring proof by clear   losses are the measure
                     misrepresentation or a         demonstrate (1) the             Co., 897 N.Y.S.2d 482 (N.Y.   Chung v. Wang, 912 N.Y.S.         made for the purpose of    and convincing             of actual damages for
                     material omission of fact      existence of a special or       App. Div. 2010).              2d 647, 648 (N.Y. App. Div.       inducing the other party   evidence.”                 fraudulent
                     which was false and known      privity like relationship                                     2010).                            to rely upon it.                                      inducement.”
                     to be false by defendant,      imposing a duty on the                                                                                                     Gaidon v. Guardian
                     made for the purpose of        defendant to impart correct                                   Hydro Investors, Inc. v.          Chung v. Wang, 912         Life Ins. Co. of Am.,      Kaddo v. King Serv.,
                     inducing the other party to    information to the plaintiff;                                 Trafalgar Power Inc., 227         N.Y.S. 2d 647, 648         725 N.E.2d 598, 607        250 A.D.2d 948, 949
                     rely upon it, justifiable      (2) that the information was                                  F.3d 8, 20 (2d Cir. 2000).        (N.Y. App. Div. 2010)      (N.Y. 1999).               (N.Y. App. Div. 3d
                     reliance of the other party    incorrect; and (3)                                                                              (internal citations                                   Dep't 1998).
                     on the misrepresentation or    reasonable reliance on the                                                                      omitted).                  A claim for negligent
                     material omission, and         information.”                                                                                                              misrepresentation must     As to a claim for fraud,
                     injury.”                                                                                                                                                  be proven by the           punitive damages are
                                                    J.A.O. Acquisition Corp. v.                                                                                                claimant by a              recoverable where there
                     Chung v. Wang, 912 N.Y.S.      Stavitsky, 8 N.Y.3d 144,                                                                                                   preponderance of the       has been gross, wanton,
                     2d 647, 648 (N.Y. App.         863 N.E.2d 585, 587, 831                                                                                                   evidence. Johnston v.      or willful fraud, or
                     Div. 2010).                    N.Y.S.2d 364 (N.Y. 2007).                                                                                                  Norton, 886 F. Supp.       other morally culpable
                                                                                                                                                                               403, 404 (S.D.N.Y.         conduct that was
                                                                                                                                                                               1995).                     manifested by utterly
                                                                                                                                                                                                          reckless behavior on
                                                                                                                                                                                                          the part of the
                                                                                                                                                                                                          wrongdoer.

                                                                                                                                                                                                          CoActiv Capital
                                                                                                                                                                                                          Partners, Inc. v.
                                                                                                                                                                                                          Hudson Converting,
                                                                                                                                                                                                          Inc., 2011 U.S. Dist.
                                                                                                                                                                                                          LEXIS 97795
                                                                                                                                                                                                          (N.D.N.Y Aug. 31,
                                                                                                                                                                                                          2011).




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                                                      VARIATIONS IN STATE INTENTIONAL/NEGLIGENT MISREPRESENTATION LAWS

                           Intentional                       Negligent                                                                                 Scienter                                                                   Other Defenses &
                                                                                                                      Reliance/Justifiable           Requirement             Standard of Proof              Damages &                 Features
   Jurisdiction         Misrepresentation                Misrepresentation            Statute of Limitations
                                                                                                                      Reliance/Causation                                     for Fraud Claims                Remedies
                            Elements                         Elements
NORTH                The elements of a North          “The elements of a            Three years after discovery.   Reasonable or justifiable     “Fraud requires a (2)      “[I]t is possible for a    Clear and convincing
CAROLINA             Carolina fraud claim are         negligent misrepresentation                                  reliance is necessary.        reasonably calculated to   jury to find someone       evidence of fraud
                     “(1) [f]alse representation or   claim are (1) justifiable     N.C. Gen. Stat. § 1-52.                                      deceive, (3) made with     liable for fraud by        needed for punitive
                     concealment of a material        reliance (2) to a party's                                    Raritan River Steel Co. v.    intent to deceive.”        preponderance of the       damages.
                     fact, (2) reasonably             detriment (3) on                                             Cherry, Bekaert & Holland,                               evidence, but not find     Hudgins v. Wagoner,
                     calculated to deceive, (3)       information prepared                                         367 S.E.2d 609, 612 (1988).   Hudgins v. Wagoner,        an aggravating factor of   694 S.E.2d 436, 450
                     made with intent to deceive,     without reasonable care (4)                                                                694 S.E.2d 436,            fraud, [as required for    n.8 (N.C. Ct. App.
                     (4) which does in fact           by one who owed the                                          Forbis v. Neal, 649 S.E.2d    442 (N.C. Ct. App.         punitive damages,] by      2010).
                     deceive, (5) resulting in        relying party a duty of                                      382, 387 (2007).              2010).                     clear and convincing
                     damage to the injured            care.”                                                                                                                evidence.”                 “A plaintiff may
                     party.”                                                                                                                                                                           recover loss of bargain
                                                      Raritan River Steel Co. v.                                                                                            Hudgins v. Wagoner,        damages in a tort action
                     Forbis v. Neal, 649 S.E.2d       Cherry, Bekaert &                                                                                                     694 S.E.2d 436, 450 n.8    if she establishes: (1)
                     382, 387 (2007).                 Holland, 367 S.E.2d 609,                                                                                              (N.C. Ct. App. 2010).      that the damages are
                                                      612 (1988).                                                                                                                                      the natural and
                     “Additionally, any reliance                                                                                                                                                       probable result of the
                     on the allegedly false                                                                                                                                                            tortfeasor’s
                     representations must be                                                                                                                                                           misconduct; and (2)
                     reasonable.” Id.                                                                                                                                                                  that the amount of
                                                                                                                                                                                                       damages is based upon
                                                                                                                                                                                                       a standard that will
                                                                                                                                                                                                       allow the finder of fact
                                                                                                                                                                                                       to calculate the amount
                                                                                                                                                                                                       of damages with
                                                                                                                                                                                                       reasonable certainty.”
                                                                                                                                                                                                       Piedmont Inst. of Pain
                                                                                                                                                                                                       Mgmt. v. Staton
                                                                                                                                                                                                       Found., 157 N.C. App.
                                                                                                                                                                                                       577, 591 (N.C. Ct.
                                                                                                                                                                                                       App. 2003).

                                                                                                                                                                                                       Generally damages for
                                                                                                                                                                                                       negligent
                                                                                                                                                                                                       misrepresentation are
                                                                                                                                                                                                       limited to pecuniary
                                                                                                                                                                                                       loss.

                                                                                                                                                                                                       Barfield v. Matos, 714
                                                                                                                                                                                                       S.E.2d 812, 825 (N.C.
                                                                                                                                                                                                       Ct. App. 2011).



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                                                     VARIATIONS IN STATE INTENTIONAL/NEGLIGENT MISREPRESENTATION LAWS

                           Intentional                      Negligent                                                                                 Scienter                                                                 Other Defenses &
                                                                                                                      Reliance/Justifiable          Requirement             Standard of Proof            Damages &                 Features
   Jurisdiction         Misrepresentation               Misrepresentation              Statute of Limitations
                                                                                                                      Reliance/Causation                                    for Fraud Claims              Remedies
                            Elements                        Elements
NORTH DAKOTA         “(1) a false, material          North Dakota recognized a       Six years after discovery.    Reasonable reliance is       Intent to deceive          “Fraud and deceit must   Under North Dakota
                     representation was made,        statutory claim for relief      N.D. Cent. Code § 28-01-16.   necessary for fraud.         necessary for fraud.       be proved by clear and   law, punitive damages
                     (2) that was either known to    based on negligent                                                                         Intent to induce           convincing evidence.”    may be awarded in
                     be false when made or was       misrepresentation under                                       Macquarie Bank v. Knickel,   reliance necessary for                              “any action for the
                     made without knowledge of       NDCC § 9-03-08(2).                                            723 F. Supp. 2d 1161, 1196   negligent                  WFND, LLC v. Fargo       breach of an obligation
                     its truth, (3) that was         Bourgois v. Montana-                                          (D.N.D. 2010).               misrepresentation.         Marc, LLC, 730           not arising from
                     intended to be acted upon,      Dakota Utils. Co., 466                                                                                                N.W.2d 841, 843 (N.D.    contract, when the
                     (4) that was relied upon, and   N.W.2d 813, 818 (N.D.                                         Undetermined for negligent   “The most reasonable       2007).                   defendant has been
                     (5) that caused injury.”        1991).                                                        misrepresentation.           interpretation of the                               guilty by clear and
                                                                                                                                                bifurcated clause, ‘with                            convincing evidence of
                     Macquarie Bank v. Knickel,      “Actual fraud within the                                                                   intent to deceive                                   oppression, fraud, or
                     723 F. Supp. 2d 1161, 1196      meaning of this title                                                                      another party thereto or                            actual malice...”
                     (D.N.D. 2010).                  consists in any of the                                                                     to induce him to enter
                                                     following acts committed                                                                   into the contract,’                                 N.D. Cent Code § 32-
                                                     by a party to the contract,                                                                suggests that negligent                             03.2-11.
                                                     or with the party's                                                                        misrepresentation
                                                     connivance, with intent to                                                                 attaches to the latter,                             “The measure of
                                                     deceive another party                                                                      intentional fraud to the                            damages for fraudulent
                                                     thereto or to induce the                                                                   former.”                                            misrepresentation is the
                                                     other party to enter into the                                                                                                                  benefit of the bargain
                                                     contract                                                                                   Cooperative Power                                   rule, but for negligent
                                                                                                                                                Ass'n v. Westinghouse                               misrepresentation the
                                                     (2) The positive assertion,                                                                Elec. Corp., 60 F.3d                                out-of-pocket damage
                                                     in a manner not warranted                                                                  1336 (8th Cir. 1995).                               rule applies.”
                                                     by the information of the
                                                     person making it, of that                                                                                                                      Asleson v. West Branch
                                                     which is not true though                                                                                                                       Land Co., 311 N.W.2d
                                                     that person believes it to be                                                                                                                  533, 544 (N.D. 1981).
                                                     true”

                                                     N.D. Cent. Code, § 9-03-08
                                                     (2).




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                                                      VARIATIONS IN STATE INTENTIONAL/NEGLIGENT MISREPRESENTATION LAWS

                           Intentional                       Negligent                                                                                     Scienter                                                                 Other Defenses &
                                                                                                                       Reliance/Justifiable              Requirement            Standard of Proof             Damages &                 Features
   Jurisdiction         Misrepresentation                Misrepresentation              Statute of Limitations
                                                                                                                       Reliance/Causation                                       for Fraud Claims               Remedies
                            Elements                         Elements
OHIO                 “Fraud consists of (a) a         “One who, in the course of      Four years after discovery.   Justifiable reliance necessary   For intentional           “The elements of fraud    Pecuniary loss only for
                     representation or, where         his business, profession or                                   for both.                        misrepresentation the     must be established by    negligent
                     there is a duty to disclose, a   employment, or in any           Burr v. Board of Cnty                                          statement needs to have   clear and convincing      misrepresentation.
                     concealment of fact, (b)         other transaction in which      Comm’rs of Stark Cnty., 491   Delman v. Cleveland Hts.,        been made with            evidence.”
                     which is material to the         he has a pecuniary interest,    N.E.2d 1101 (Ohio 1986).      534 N.E.2d 835, 838 (Ohio        knowledge of falsity or                             Delman v. Cleveland
                     transaction at hand, (c)         supplies false information                                    1989).                           reckless disregard and    Rapport v. Kochovski,     Hts., 534 N.E.2d 835,
                     made falsely, with               for the guidance of others                                                                     with intent to induce     923 N.E.2d 1212, 1215     838 (Ohio 1989).
                     knowledge of its falsity, or     in their business                                             Wagner v. Ohio State Univ.       reliance.                 (Ohio Ct. App. 2009).
                     with such utter disregard        transactions, is subject to                                   Med. Ctr., 934 N.E.2d 394,                                                           Benefit of the bargain
                     and recklessness as to           liability for pecuniary loss                                  402 (Ohio Ct. App. 2010).                                  A claim for negligent     is sued to calculate
                     whether it is true or false      caused to them by their                                                                        Wagner v. Ohio State      misrepresentation is      damages for fraud.
                     that knowledge may be            justifiable reliance upon the                                                                  Univ. Med. Ctr., 934      subject to a
                     inferred, (d) with the intent    information, if he fails to                                                                    N.E.2d 394, 402 (Ohio     preponderance of          Northpoint Props. v.
                     of misleading another into       exercise reasonable care or                                                                    Ct. App. 2010).           evidence standard.        Charter One Bank,
                     relying upon it, (e)             competence in obtaining or                                                                                                                         2011 Ohio 2512, P35
                     justifiable reliance upon the    communicating the                                                                                                        Flanagan Lieberman        (Ohio Ct. App.,
                     representation or                information.”                                                                                                            Hoffman & Swaim v.        Cuyahoga County May
                     concealment, and (f) a                                                                                                                                    Transamerica Life &       26, 2011).
                     resulting injury proximately     Delman v. Cleveland Hts.,                                                                                                Annuity Co., 228 F.
                     caused by the reliance.”         534 N.E.2d 835, 838 (Ohio                                                                                                Supp. 2d 830, 853 (S.D.
                                                      1989).                                                                                                                   Ohio 2002).               “In tort law, punitive
                     Wagner v. Ohio State Univ.                                                                                                                                                          damages are available
                     Med. Ctr., 934 N.E.2d 394,                                                                                                                                                          in actions involving
                     402 (Ohio Ct. App. 2010).                                                                                                                                                           fraud, actual malice,
                                                                                                                                                                                                         oppression, or insult on
                                                                                                                                                                                                         the part of the
                                                                                                                                                                                                         defendant.”

                                                                                                                                                                                                         Touhey v. Ed's Tree &
                                                                                                                                                                                                         Turf, L.L.C., WL
                                                                                                                                                                                                         2672236, at * 4 (Ohio
                                                                                                                                                                                                         App. 12 Dist. 2011).




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                                                     VARIATIONS IN STATE INTENTIONAL/NEGLIGENT MISREPRESENTATION LAWS

                           Intentional                      Negligent                                                                              Scienter                                                                Other Defenses &
                                                                                                                  Reliance/Justifiable           Requirement            Standard of Proof            Damages &                 Features
   Jurisdiction         Misrepresentation               Misrepresentation            Statute of Limitations
                                                                                                                  Reliance/Causation                                    for Fraud Claims              Remedies
                            Elements                        Elements
OKLAHOMA             The elements for fraud are      The Oklahoma Supreme          “[C]ivil actions based on   Reasonable reliance is        For intentional           “Fraud is never          Punitive damages
                     “material, false                Court has not expressly       fraud [must be] brought     necessary for intentional     misrepresentation the     presumed and each of     available for fraud.
                     representations, made with      recognized the tort of        within two years.”          misrepresentation.            statement needs to have   its elements must be
                     knowledge of their falsity,     negligent                                                                               been made with            proved by clear and      United States ex rel.
                     or recklessly made without      misrepresentation.            Bennett v. McKibben, 915    Gibson v. Mendenhall, 224     knowledge of falsity or   convincing evidence.”    MMS Constr. &
                     knowledge of their truth and                                  P.2d 400 (Okla. Civ. App.   P.2d 251, 253 (Okla. 1950).   reckless disregard and                             Paving, L.L.C. v. Head,
                     as a positive assertion, with   Qassas v. Daylight Donut      1996).                                                    with intent to induce     Bowman v. Presley, 212   Inc., 2011 U.S. Dist.
                     intention they be acted upon    Flour Co., LLC, 2010 U.S.                                                               reliance.                 P.3d 1210, 1218 (Okla.   LEXIS 120261 (W.D.
                     by another, and reliance        Dist. LEXIS 58478, 2010                                                                                           2009).                   Okla. Oct. 18, 2011).
                     thereon by another party to     WL 2365472, at * 12 (N.D.                                                               Gibson v. Mendenhall,
                     his injury.”                    Okla. 2010).                                                                            224 P.2d 251,                                      “Oklahoma, by
                                                                                                                                             253 (Okla. 1950).                                  decisional law, has
                     Gibson v. Mendenhall, 224       Oklahoma courts have,                                                                                                                      adopted a form of the
                     P.2d 251, 253 (Okla. 1950).     however, recognized a                                                                                                                      benefit of the bargain
                                                     similar claim of                                                                                                                           measure in fraud
                                                     constructive fraud under                                                                                                                   actions, allowing the
                                                     certain circumstances. Id.                                                                                                                 plaintiff to recover the
                                                                                                                                                                                                difference between the
                                                     There is “no clear                                                                                                                         actual value received
                                                     statement of law regarding                                                                                                                 and the value the
                                                     the elements of the tort of                                                                                                                defrauded party would
                                                     negligent misrepresentation                                                                                                                have had if it had been
                                                     in Oklahoma.”                                                                                                                              as represented.”

                                                     Southcrest, L.L.C. v. Bovis                                                                                                                LeFlore v. Reflections
                                                     Lend Lease, Inc., 2011 U.S.                                                                                                                of Tulsa, Inc., 1985 OK
                                                     Dist. LEXIS 100187 (N.D.                                                                                                                   72 (Okla. 1985).
                                                     Okla. Sept. 2, 2011).




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                                                      VARIATIONS IN STATE INTENTIONAL/NEGLIGENT MISREPRESENTATION LAWS

                           Intentional                       Negligent                                                                                     Scienter                                                                     Other Defenses &
                                                                                                                        Reliance/Justifiable             Requirement            Standard of Proof                Damages &                  Features
   Jurisdiction         Misrepresentation                Misrepresentation                Statute of Limitations
                                                                                                                        Reliance/Causation                                      for Fraud Claims                  Remedies
                            Elements                         Elements
OREGON               “Under Oregon law, proof         “(1) a special relationship       Two years after discovery.   Reasonable or justifiable       Knowledge that fact       “Clear and convincing        Punitive damages are
                     of fraud generally requires a    between plaintiff and                                          reliance is needed for both.    was false and intent to   proof is required in civil   available for intentional
                     showing that (1) the accused     defendants; (2) that              Murray v. Lamb, 148 P.2d                                     induce reliance           cases involving              misrepresentation.
                     had falsely represented a        defendants failed to              797, 801 (Or. 1944).         Conway v. Pacific University,   necessary for fraud.      allegations of fraud.”       While recklessness or
                     material fact; (2) the           exercise reasonable care by                                    924 P.2d 818 (1996).                                      Gallant v. Board of          even negligence might
                     accused knew that the            negligently making false                                                                       Pollock v. D.R. Horton,   Med. Exam’rs, 974 P.2d       suffice, it has to “go
                     representation was false; (3)    representations or omitting                                                                    Inc.-Portland, 77 P.3d    814, 820 (Or. Ct. App.       beyond mere
                     the misrepresentation was        material facts; (3) plaintiff's                                Pollock v. D.R. Horton, Inc.-   1120, 1131 (Or. Ct.       1999).                       carelessness to a willful
                     made with the intent to          reasonable reliance on                                         Portland, 77 P.3d 1120,         App. 2003).                                            or reckless disregard of
                     induce the recipient to act or   those false representations                                    1131 (Or. Ct. App. 2003).                                 Preponderance for            risk of harm to others
                     refrain from acting; (4) the     or omissions; and (4)                                                                                                    negligence.                  of a magnitude
                     recipient justifiably relied     damages sustained by                                                                                                                                  evincing a high degree
                     on the misrepresentation;        plaintiff.”                                                                                                              Onita Pac. Corp. v. Trs.     of social
                     and (5) the recipient was                                                                                                                                 of Bronson, 315 Ore.         irresponsibilty. In such
                     damaged by that reliance.”       Conway v. Pacific                                                                                                        149, 159 (Or. 1992).         a setting the plaintiff
                                                      University, 924 P.2d 818                                                                                                                              whose economic loss
                     Pollock v. D.R. Horton,          (1996).                                                                                                                                               may be insignificant to
                     Inc.-Portland, 77 P.3d 1120,                                                                                                                                                           the enterprise and
                     1131 (Or. Ct. App. 2003)                                                                                                                                                               perhaps too small to
                     (internal citations omitted).                                                                                                                                                          justify the expenses of
                                                                                                                                                                                                            pressing a claim
                                                                                                                                                                                                            represents social
                                                                                                                                                                                                            interests larger than his
                                                                                                                                                                                                            own.”
                                                                                                                                                                                                            Weigel v. Ron Tonkin
                                                                                                                                                                                                            Chevrolet Co., 298 Ore.
                                                                                                                                                                                                            127, 138 (Or. 1984).
                                                                                                                                                                                                            The measure of
                                                                                                                                                                                                            damages for fraudulent
                                                                                                                                                                                                            misrepresentation is the
                                                                                                                                                                                                            benefit of the bargain
                                                                                                                                                                                                            rule, but for negligent
                                                                                                                                                                                                            misrepresentation the
                                                                                                                                                                                                            out-of-pocket damage
                                                                                                                                                                                                            rule applies.
                                                                                                                                                                                                            Duyck v. Tualatin
                                                                                                                                                                                                            Valley Irrigation Dist.,
                                                                                                                                                                                                            80 Ore. App. 602, 610
                                                                                                                                                                                                            (Or. Ct. App. 1986).




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                                                      VARIATIONS IN STATE INTENTIONAL/NEGLIGENT MISREPRESENTATION LAWS

                           Intentional                       Negligent                                                                                    Scienter                                                                     Other Defenses &
                                                                                                                      Reliance/Justifiable              Requirement             Standard of Proof              Damages &                   Features
   Jurisdiction         Misrepresentation                Misrepresentation               Statute of Limitations
                                                                                                                      Reliance/Causation                                        for Fraud Claims                Remedies
                            Elements                         Elements
PENNSYLVANIA         “To recover on a claim of        “(1) a misrepresentation of      Two years.                  Justifiable reliance for both.   Yes for both.              “Fraud must be averred     Under Pennsylvania
                     fraud a plaintiff must prove     a material fact; (2) made                                                                                                with particularity . . .   law, "there must be acts
                     by clear and convincing          under circumstances in           42 Pa. Cons. Stat. Ann. §   Bortz v. Noon, 556 Pa. 489,      Intent to induce/mislead   and it must be proven      of malice,
                     evidence six elements: (1) a     which the misrepresenter         5524.                       500, 729 A.2d 555 (1999).        for both.                  by clear and convincing    vindictiveness and a
                     representation; (2) which is     ought to have known its                                                                                                  evidence.” Ellison v.      wholly wanton
                     material to the transaction at   falsity; (3) with an intent to                               Debbs v. Chrysler Corp., 810     Knowledge or reckless      Lopez, 959 A.2d 395,       disregard for the rights
                     hand; (3) made falsely, with     induce another to act on it;                                 A.2d 137, 155 (Pa. Super. Ct.    for intentional            398 (Pa. Super. Ct.        of others" when
                     knowledge of its falsity or      and; (4) which results in                                    2002).                           misrepresentation.         2008) (internal citation   fraudulent conduct is
                     recklessness as to whether it    injury to a party acting in                                                                                              omitted).                  the basis for punitive
                     is true or false; (4) with the   justifiable reliance on the                                                                   “out to have known”                                   damages. Pittsburgh
                     intent of misleading another     misrepresentation.”                                                                           for negligent              Preponderance is the       Live Inc. v. Servov, 615
                     into relying on it; (5)                                                                                                        misrepresentation.         standard for negligent     A.2d 438, 442
                     justifiable reliance on the      Bortz v. Noon, 556 Pa. 489,                                                                                              misrepresentation.         (Pa.Super 1992).
                     misrepresentation; and (6)       500, 729 A.2d 555 (1999).                                                                     Debbs v. Chrysler
                     the resulting injury was                                                                                                       Corp., 810 A.2d 137,       Martik Bros., Inc. v.      “Furthermore, an
                     proximately caused by the                                                                                                      155 (Pa. Super. Ct.        Huntington Nat'l Bank,     establishment of all or
                     reliance.”                                                                                                                     2002).                     2010 U.S. Dist. LEXIS      some of the elements of
                                                                                                                                                                               40250 (W.D. Pa. Apr.       fraudulent
                     Debbs v. Chrysler                                                                                                              Bortz v. Noon, 556 Pa.     23, 2010).                 misrepresentations does
                     Corp., 810 A.2d 137,                                                                                                           489, 500, 729 A.2d 555                                not entitle a plaintiff to
                     155 (Pa. Super. Ct. 2002)                                                                                                      (1999).                                               punitive damages
                     (internal citations omitted).                                                                                                                                                        simply because
                                                                                                                                                                                                          elements have been
                                                                                                                                                                                                          met.”

                                                                                                                                                                                                          Martik Bros., Inc. v.
                                                                                                                                                                                                          Huntington Nat'l Bank,
                                                                                                                                                                                                          2010 U.S. Dist. LEXIS
                                                                                                                                                                                                          40250 (W.D. Pa. Apr.
                                                                                                                                                                                                          23, 2010).

                                                                                                                                                                                                          In general, only
                                                                                                                                                                                                          pecuniary loss is
                                                                                                                                                                                                          recoverable for both.
                                                                                                                                                                                                          Restituto v. Trauma
                                                                                                                                                                                                          Serv. Group, 29 Phila.
                                                                                                                                                                                                          225, 244 (Pa. C.P.
                                                                                                                                                                                                          1995).




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                                                      VARIATIONS IN STATE INTENTIONAL/NEGLIGENT MISREPRESENTATION LAWS

                           Intentional                       Negligent                                                                                     Scienter                                                                    Other Defenses &
                                                                                                                      Reliance/Justifiable               Requirement             Standard of Proof               Damages &                 Features
   Jurisdiction         Misrepresentation                Misrepresentation             Statute of Limitations
                                                                                                                      Reliance/Causation                                         for Fraud Claims                 Remedies
                            Elements                         Elements
RHODE ISLAND         “To establish a prima facie      “(1) a misrepresentation of    Ten years.                    Justifiable reliance needed for   Intent to induce           “[F]raud in a civil suit    Punitive damages
                     fraud claim, the plaintiff       a material fact; 2) the                                      both.                             reliance is needed for     need only be proven by      available for fraud if
                     must prove that the              representor must either        R.I. Gen. Laws § 9-1-13(a).                                     both.                      a fair preponderance of     the party making the
                     defendant made a false           know of the                                                  Parker v. Byrne, 996 A.2d                                    the evidence.”              false statements knows
                     representation intending         misrepresentation, must                                      627, 634 (R.I. 2010).             Parker v. Byrne, 996                                   it is false.
                     thereby to induce plaintiff to   make the misrepresentation                                                                     A.2d 627, 634 (R.I.        Ostalkiewicz v.
                     rely thereon and that the        without knowledge as to its                                  Mallette v. Children's Friend     2010).                     Guardian Alarm, Div.        Conti v. Walter
                     plaintiff justifiably relied     truth or falsity or must                                     & Serv., 661 A.2d 67, 69                                     of Colbert's Sec. Servs.,   Winters, 86 R.I. 456,
                     thereon to his or her            make the representation                                      (R.I. 1995).                      Mallette v. Children's     Inc., 520 A.2d 563, 569     458 (R.I. 1957).
                     damage.”                         under circumstances in                                                                         Friend & Serv., 661        (R.I. 1987).
                                                      which he ought to have                                                                         A.2d 67, 69 (R.I. 1995).                               “The ‘benefit of the
                     Parker v. Byrne, 996 A.2d        known of its falsity; 3) the                                                                                                                          bargain’ rule is the
                     627, 634 (R.I. 2010)             representor must intend the                                                                                                                           proper measure of
                     (internal quotation omitted).    representation to induce                                                                                                                              damages in a claim for
                                                      another to act on it; and 4)                                                                                                                          fraud or
                                                      injury must result to the                                                                                                                             misrepresentation, the
                                                      party acting in justifiable                                                                                                                           difference between the
                                                      reliance on the                                                                                                                                       actual value of what the
                                                      misrepresentation.”                                                                                                                                   defrauded person
                                                                                                                                                                                                            received and the value
                                                      Mallette v. Children's                                                                                                                                which it would have
                                                      Friend & Serv., 661 A.2d                                                                                                                              had if it had been as
                                                      67, 69 (R.I. 1995).                                                                                                                                   represented.”

                                                                                                                                                                                                            Caseau v. Belisle, 2005
                                                                                                                                                                                                            R.I. Super. LEXIS 144
                                                                                                                                                                                                            (R.I. Super. Ct. 2005).

                                                                                                                                                                                                            Out of pocket for
                                                                                                                                                                                                            negligent
                                                                                                                                                                                                            misrepresentation.
                                                                                                                                                                                                            Gale v. Value Line,
                                                                                                                                                                                                            Inc., 640 F. Supp. 967,
                                                                                                                                                                                                            970 (D.R.I. 1986).




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                                                      VARIATIONS IN STATE INTENTIONAL/NEGLIGENT MISREPRESENTATION LAWS

                           Intentional                       Negligent                                                                                      Scienter                                                                 Other Defenses &
                                                                                                                        Reliance/Justifiable              Requirement            Standard of Proof             Damages &                 Features
   Jurisdiction         Misrepresentation                Misrepresentation              Statute of Limitations
                                                                                                                        Reliance/Causation                                       for Fraud Claims               Remedies
                            Elements                         Elements
SOUTH                “To establish fraud, the         “(1) the defendant made a       Three years after discovery.   Justifiable reliance necessary   For intentional           “To prevail on a cause    An act of fraud is
CAROLINA             following nine elements          false representation to the                                    for both.                        misrepresentation the     of action for fraud, a    enough to warrant
                     must be shown: (1) a             plaintiff; (2) the defendant    S.C. Code Ann. § 15-3-530                                       statement needs to have   Plaintiff must prove by   punitive damages.
                     representation or                had a pecuniary interest in     (1976).                        AMA Mgmt. Corp. v.               been made with            clear, cogent and
                     nondisclosure of a material      making the statement; (3)                                      Strasburger, 309 S.C. 213,       knowledge of falsity or   convincing evidence…”     Hutcherson v. Pilgrim
                     fact, (2) its falsity, (3) its   the defendant owed a duty                                      222, 420 S.E.2d 868, 874 (Ct.    reckless disregard and                              Health & Life Ins. Co.,
                     materiality, (4) either          of care to see that he                                         App. 1992).                      with intent to induce     Moseley v. All Things     227 S.C. 239, 244 (S.C.
                     knowledge of its falsity or a    communicated truthful                                                                           reliance.                 Possible, Inc., 694       1955).
                     reckless disregard of its        information to the plaintiff;                                  Kiriakides v. Atlas Food Sys.                              S.E.2d 43, 45 (S.C. Ct.
                     truth or falsity, (5) intent     (4) the defendant breached                                     & Servs., Inc., 527 S.E.2d       Kiriakides v. Atlas       App. 2010).               South Carolina scheme
                     that the representation be       that duty by failing to                                        371, 378 (S.C. Ct. App.          Food Sys. & Servs.,                                 of punitive damages,
                     acted upon, (6) the hearer's     exercise due care; (5) the                                     2000).                           Inc., 527 S.E.2d 371,     “A claim for negligent    which allows a jury to
                     ignorance of its falsity, (7)    plaintiff justifiably relied                                                                    378 (S.C. Ct. App.        misrepresentation         punish wealthier
                     the hearer's reliance on its     on the representation; and                                                                      2000).                    requires a plaintiff to   defendants more to
                     truth, (8) the hearer's right    (6) the plaintiff suffered a                                                                                              show, by a                effect a proportionally
                     to rely thereon, and (9) the     pecuniary loss as the                                                                                                     preponderance of the      equal deterrent.
                     hearer's consequent and          proximate result of his                                                                                                   evidence.”
                     proximate injury.”               reliance upon the                                                                                                                                   Defender Industries,
                                                      representation.”                                                                                                          RL REGI Fin., LLC v.      Inc. v. Northwestern
                     Kiriakides v. Atlas Food                                                                                                                                   DDB of Spartanburg,       Mut. Life Ins. Co., 809
                     Sys. & Servs., Inc., 527         AMA Mgmt. Corp. v.                                                                                                        LLC, 2011 U.S. Dist.      F. Supp. 400, 409
                     S.E.2d 371, 378 (S.C. Ct.        Strasburger, 309 S.C. 213,                                                                                                LEXIS 94518 (D.S.C.       (D.S.C. 1992).
                     App. 2000).                      222, 420 S.E.2d 868, 874                                                                                                  Aug. 23, 2011).
                                                      (Ct. App. 1992).                                                                                                                                    The measure of
                                                                                                                                                                                                          damages for fraudulent
                                                                                                                                                                                                          misrepresentation is the
                                                                                                                                                                                                          benefit of the bargain
                                                                                                                                                                                                          rule, but for negligent
                                                                                                                                                                                                          misrepresentation the
                                                                                                                                                                                                          out-of-pocket damage
                                                                                                                                                                                                          rule applies.

                                                                                                                                                                                                          Schnellmann v.
                                                                                                                                                                                                          Roettger, 373 S.C. 379,
                                                                                                                                                                                                          383 (S.C. 2007).




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                                                     VARIATIONS IN STATE INTENTIONAL/NEGLIGENT MISREPRESENTATION LAWS

                           Intentional                      Negligent                                                                                   Scienter                                                                        Other Defenses &
                                                                                                                     Reliance/Justifiable             Requirement               Standard of Proof                 Damages &                 Features
   Jurisdiction         Misrepresentation               Misrepresentation             Statute of Limitations
                                                                                                                     Reliance/Causation                                         for Fraud Claims                   Remedies
                            Elements                        Elements
SOUTH DAKOTA         The common-law fraud            “The elements of a             Six years after discovery.    Actual/reasonable reliance is   For intentional              It is plaintiff's burden to   “In any action for the
                     claim requires that “a          negligent misrepresentation                                  an element for both.            misrepresentation the        prove each element of a       breach of an obligation
                     representation was made as      claim are: (1) the defendant   S.D. Codified Laws §§ 15-2-                                   statement needs to have      fraud claim by a              not arising from
                     a statement of fact, which      supplied false information     3, 13.                        Delka v. Cont’l Cas. Co., 748   been made with               preponderance of the          contract, where the
                     was untrue and known to be      to the plaintiff; (2) the                                    N.W.2d 140, 151-52 (S.D.        knowledge of falsity or      evidence.                     defendant has been
                     untrue by the party making      defendant supplied the                                       2008).                          reckless disregard and                                     guilty of oppression,
                     it, or else recklessly made;    information during the                                                                       with intent to induce        Sejnoha v. City of            fraud, or malice, actual
                     that it was made with the       course of a transaction in                                   Bayer v. PAL Newcomb            reliance.                    Yankton, 622 N.W.2d           or presumed, or in any
                     intent to deceive and for the   which the defendant had a                                    Partners , 643 N.W.2d 409,                                   735, 739 (S.D. 2001).         case of wrongful injury
                     purpose of inducing the         financial interest; (3) the                                  412 (S.D. 2002).                Delka v. Cont’l Cas.                                       to animals, being
                     other party to act upon it;     defendant was negligent in                                                                   Co., 748 N.W.2d 140,                                       subjects of property,
                     and that he did in fact rely    obtaining or                                                                                 151-52 (S.D. 2008).                                        committed intentionally
                     on it and was induced           communicating the                                                                                                                                       or by willful and
                     thereby to act to his injury    information; (4) the                                                                         Intent that the party rely                                 wanton misconduct, in
                     or damage.”                     defendant supplied the                                                                       on the information or                                      disregard of humanity,
                                                     information intending or                                                                     knowledge that they                                        the jury, in addition to
                     Delka v. Cont’l Cas. Co.,       knowing that the plaintiff                                                                   would is an element for                                    the actual damage, may
                     748 N.W.2d 140, 151-            would rely on the                                                                            negligent                                                  give damages for the
                     52 (S.D. 2008).                 information; and (5) the                                                                     misrepresentation.                                         sake of example, and
                                                     plaintiff acted reasonably                                                                                                                              by way of punishing
                                                     in detrimentally relying on                                                                  Bayer v. PAL Newcomb                                       the defendant.”
                                                     the information.”                                                                            Partners , 643 N.W.2d                                      S.D. Codified Laws §
                                                                                                                                                  409, 412 (S.D. 2002).                                      21-3-2.
                                                     Bayer v. PAL Newcomb
                                                     Partners , 643 N.W.2d 409,                                                                                                                              “The general measure
                                                     412 (S.D. 2002).                                                                                                                                        of damages for breach
                                                                                                                                                                                                             of an obligation not
                                                                                                                                                                                                             arising from contract is
                                                                                                                                                                                                             the amount which will
                                                                                                                                                                                                             compensate for all the
                                                                                                                                                                                                             detriment proximately
                                                                                                                                                                                                             caused thereby,
                                                                                                                                                                                                             whether it could have
                                                                                                                                                                                                             been anticipated or
                                                                                                                                                                                                             not.”

                                                                                                                                                                                                             Biegler v. American
                                                                                                                                                                                                             Family Mut. Ins. Co.,
                                                                                                                                                                                                             2001 SD 13, P43 (S.D.
                                                                                                                                                                                                             2001).



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                                                      VARIATIONS IN STATE INTENTIONAL/NEGLIGENT MISREPRESENTATION LAWS

                           Intentional                       Negligent                                                                               Scienter                                                                 Other Defenses &
                                                                                                                    Reliance/Justifiable           Requirement             Standard of Proof              Damages &               Features
   Jurisdiction         Misrepresentation                Misrepresentation              Statute of Limitations
                                                                                                                    Reliance/Causation                                     for Fraud Claims                Remedies
                            Elements                         Elements
TENNESSEE            “[Plaintiff] must prove six      “[1] the defendant supplied     Three years.               Reasonable or justifiable     For intentional            “[T]he preponderance       Punitive damages
                     elements to establish [a]        information to the plaintiff;                              reliance needed for both.     misrepresentation, the     [of evidence] standard     permitted only if
                     claim of intentional             [2] the information was         Vance v. Schulder, 547                                   statement needs to have    [of proof] applies in a    defendant has acted
                     misrepresentation: (1) that      false; [3] the defendant did    S.W.2d 927 (Tenn. 1977).   Williams v. Berube &          been made with             [fraud] case where the     intentionally,
                     [the defendant] made a           not exercise reasonable                                    Assocs., 26 S.W.3d 640, 645   knowledge of falsity or    plaintiff does not seek    fraudulently,
                     representation of an existing    care in obtaining or                                       (Tenn. Ct. App. 2000).        recklessness or without    rescission or              maliciously, or
                     or past fact; (2) that the       communicating the                                                                        belief that it was true.   reformation of a written   recklessly.
                     representation was false         information and [4] the                                    Davis v. McGuigan, 325                                   instrument due to fraud.
                     when it was made; (3) that       plaintiffs justifiably relied                              S.W.3d 149, 154 (Tenn.        Davis v. McGuigan,         . . .”                     Hodges v. S.C. Toof &
                     the representation involved      on the information.”                                       2010).                        325 S.W.3d 149, 154                                   Co., 833
                     a material fact; (4) that [the                                                                                            (Tenn. 2010).              Elchlepp v. Hatfield,      S.W.2d 896, 900
                     defendant] made the              Williams v. Berube &                                                                                                294 S.W.3d 146, 150        (Tenn. 1992).
                     representation recklessly,       Assocs., 26 S.W.3d 640,                                                                                             (Tenn. Ct. App. 2008).
                     with knowledge that it was       645 (Tenn. Ct. App. 2000).                                                                                                                     Damages for fraud are
                     false, or without belief that                                                                                                                                                   calculated using the
                     the representation was true;                                                                                                                                                    benefit of the bargain
                     (5) that [the plaintiff]                                                                                                                                                        rule.
                     reasonably relied on the
                     representation; and (6) that                                                                                                                                                    Elchlepp v. Hatfield,
                     [the plaintiff was] damaged                                                                                                                                                     294 S.W.3d 146, 152
                     by relying on the                                                                                                                                                               (Tenn. Ct. App. 2008).
                     representation.”

                     Davis v. McGuigan, 325
                     S.W.3d 149, 154 (Tenn.
                     2010).




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                                                     VARIATIONS IN STATE INTENTIONAL/NEGLIGENT MISREPRESENTATION LAWS

                           Intentional                      Negligent                                                                                         Scienter                                                                   Other Defenses &
                                                                                                                          Reliance/Justifiable              Requirement               Standard of Proof            Damages &                 Features
   Jurisdiction         Misrepresentation               Misrepresentation              Statute of Limitations
                                                                                                                          Reliance/Causation                                          for Fraud Claims              Remedies
                            Elements                        Elements
TEXAS                “The elements of fraud are      “(a) defendant provides         “Texas law prescribes a four-     Justifiable reliance necessary   Intent to induce             Common law fraud is      Exemplary damages
                     (1) a material representation   information in the course of    year statute of limitations for   for both.                        reliance necessary for       proved by the            may be recovered for
                     was made, (2) the               his business, or in a           fraud actions, including                                           common law fraud.            preponderance of the     fraud if every element
                     representation was false, (3)   transaction in which he has     claims for fraudulent             Horizon Shipbuilding, Inc. v.                                 evidence.                if proved by clear and
                     when the representation was     a pecuniary interest; (b) the   concealment.”                     BLyn II Holding, LLC, 324        Horizon Shipbuilding,                                 convincing evidence.
                     made, the speaker knew it       information supplied is                                           S.W.3d 840, 849-50 (Tex. Ct.     Inc. v. BLyn II Holding,     Browder v. Eicher, 841
                     was false or made it            false; (c) the defendant did    Seureau v. ExxonMobil             App. 2010).                      LLC, 324 S.W.3d 840,         S.W.2d 500, 502 (Tex.    Tex. Civ. Prac. & Rem.
                     recklessly without any          not exercise reasonable         Corp., 274 S.W.3d 206, 226                                         849-50 (Tex. Ct. App.        App. Houston 14th        Code § 41.003(a).
                     knowledge of the truth and      care or competence in           (Tex. Ct. App. 2008).             Federal Land Bank Ass'n v.       2010).                       Dist. 1992).
                     as a positive assertion, (4)    obtaining or                                                      Sloane, 825 S.W.2d 439, 442                                                            The measure of
                     the speaker made the            communicating the               A claim for negligent             (Tex. 1991).                     “Unlike common law                                    damages for fraudulent
                     representation with the         information; (d) the            misrepresentation must be                                          fraud, negligent                                      misrepresentation is the
                     intent that the other party     plaintiff justifiably relies    brought within two years of                                        misrepresentation does                                benefit of the bargain
                     should act upon it, (5) the     on the information; and (e)     the alleged misrepresentation.                                     not require knowledge                                 rule, but for negligent
                     party acted in reliance on      the plaintiff suffers                                                                              of the falsity or reckless                            misrepresentation the
                     the representation, and (6)     damages proximately             HECI Exploration Co. v.                                            disregard of the truth or                             out-of-pocket damage
                     the party thereby suffered      caused by the reliance.”        Neel, 982 S.W.2d 881, 885                                          falsity of the                                        rule applies.
                     injury.”                                                        (Tex. 1998).                                                       representation at the
                                                     Federal Land Bank Ass'n v.                                                                         time it was made.”                                    D.S.A., Inc. v.
                     Horizon Shipbuilding, Inc.      Sloane, 825 S.W.2d 439,                                                                                                                                  Hillsboro Indep. Sch.
                     v. BLyn II Holding, LLC,        442 (Tex. 1991).                                                                                   Angle v. Mortgage                                     Dist., 973 S.W.2d 662,
                     324 S.W.3d 840, 849-                                                                                                               Elec. Registration Sys.,                              664 (Tex. 1998).
                     50 (Tex. Ct. App. 2010)                                                                                                            2011 U.S. Dist. LEXIS
                     (internal citation omitted).                                                                                                       105672, 3-4 (E.D. Tex.
                                                                                                                                                        Sept. 19, 2011).




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                                                     VARIATIONS IN STATE INTENTIONAL/NEGLIGENT MISREPRESENTATION LAWS

                           Intentional                      Negligent                                                                                     Scienter                                                                Other Defenses &
                                                                                                                      Reliance/Justifiable              Requirement            Standard of Proof             Damages &                Features
   Jurisdiction         Misrepresentation               Misrepresentation              Statute of Limitations
                                                                                                                      Reliance/Causation                                       for Fraud Claims               Remedies
                            Elements                        Elements
UTAH                 “ (1) [t]hat a representation   “(1) the plaintiffs             Three years.                  Reasonable reliance              For common law fraud      “To prevail on a claim    A common law fraud
                     was made; (2) concerning a      reasonably relied on the                                      necessary for both.              the representer must      of fraudulent             claim may be enough to
                     presently existing material     defendant's representation,     Jensen v. IHC Hosps., Inc.,                                    either have known that    inducement, a plaintiff   warrant punitive
                     fact; (3) which was false;      (2) the representation          944 P.2d 327 (Utah 1997).     Price-Orem Inc. Co. v.           the information was       must present clear and    damages.
                     (4) which the representor       constitutes a "careless or                                    Rollins, Brown & Gunnel,         wrong or reckless made    convincing evidence…”
                     either (a) knew to be false,    negligent misrepresentation                                   Inc., 713 P.2d 55, 59 (Utah      a representation and                                Galindo v. Asset
                     or (b) made recklessly,         of a material fact," (3) the                                  1986).                           made the representation   Daines v. Vincent, 190    Recovery Trust, 2008
                     knowing that he had             defendant "had a pecuniary                                                                     for the purpose of        P.3d 1269, 1279 (Utah     U.S. Dist. LEXIS
                     insufficient knowledge upon     interest in the transaction,"                                 Prince v. Bear River Mut. Ins.   inducing reliance.        2008).                    61495 (D. Utah Aug.
                     which to base such              (4) the defendant "was in a                                   Co., 56 P.3d 524, 536 (Utah                                                          12, 2008).
                     representation; (5) for the     superior position to know                                     2002).                           Prince v. Bear River      Same for negligence.
                     purpose of inducing the         the material facts," and (5)                                                                   Mut. Ins. Co., 56 P.3d                              For fraud damages are
                     other party to act upon it;     the defendant "should have                                                                     524, 536 (Utah 2002)      Jardine v. Brunswick      benefit of the bargain.
                     (6) that the other party,       reasonably foreseen that                                                                       (internal citations       Corp., 18 Utah 2d 378,    Brown v. Richards, 840
                     acting reasonably and in        the injured party was likely                                                                   omitted).                 383 (Utah 1967).          P.2d 143, 151 (Utah Ct.
                     ignorance of its falsity; (7)   to rely upon the                                                                                                                                   App. 1992).
                     did in fact rely upon it; (8)   misrepresentation.”
                     and was thereby induced to                                                                                                                                                         For negligence
                     act; (9) to his injury and      Price-Orem Inc. Co. v.                                                                                                                             misrepresentation they
                     damage.”                        Rollins, Brown & Gunnel,                                                                                                                           are out of pocket
                                                     Inc., 713 P.2d 55, 59 (Utah                                                                                                                        expenses.
                     Prince v. Bear River Mut.       1986).
                     Ins. Co., 56 P.3d 524,                                                                                                                                                             SME Indus., Inc. v.
                     536 (Utah 2002).                                                                                                                                                                   Thompson, Ventulett,
                                                                                                                                                                                                        Stainback & Assocs.,
                                                                                                                                                                                                        Inc., 2001 UT 54, P40
                                                                                                                                                                                                        (Utah 2001).




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                                                    VARIATIONS IN STATE INTENTIONAL/NEGLIGENT MISREPRESENTATION LAWS

                           Intentional                     Negligent                                                                                     Scienter                                                                  Other Defenses &
                                                                                                                      Reliance/Justifiable             Requirement            Standard of Proof              Damages &                 Features
   Jurisdiction         Misrepresentation              Misrepresentation              Statute of Limitations
                                                                                                                      Reliance/Causation                                      for Fraud Claims                Remedies
                            Elements                       Elements
VERMONT              “An action for fraud and       “(1) in the course of his       Six years after accrual.       Justifiable reliance is         For common law fraud      “To succeed on a [fraud    “actual common law
                     deceit will lie upon an        business, profession, or                                       necessary for both.             representer needs to      in the inducement          fraud, as opposed to
                     intentional                    employment, or in any           12 Vt. Stat. Ann. tit. 12. §                                   know the representation   claim,] a plaintiff must   other kinds of
                     misrepresentation of           other transaction in which      511.                           Bennington Hous. Auth. v.       was false.                prove the elements of      intentional torts,
                     existing fact, affecting the   he has a pecuniary interest,                                   Bush, 933 A.2d 207, 210-                                  fraud by clear and         inherently possesses the
                     essence of the transaction,    (2) supplies false                                             11 (Vt. 2007).                  Bennington Hous. Auth.    convincing evidence.       necessary malice and ill
                     so long as the                 information (3) for the                                                                        v. Bush, 933 A.2d 207,                               will that may make
                     misrepresentation was false    guidance of others in their                                    Limoge v. People's Trust Co.,   210-11 (Vt. 2007).        Bennington Housing         punitive damages
                     when made and known to be      business transactions, is                                      168 Vt. 265, 268 (Vt. 1998).                              Auth. v. Bush, 933 A.2d    appropriate”
                     false by the maker, was not    subject to liability for                                                                                                 207, 210 (Vt. 2007).
                     open to the defrauded          pecuniary loss caused to                                                                                                                            Follo v. Florindo, 2009
                     party's knowledge, and was     them (4) by their justifiable                                                                                            Preponderance enough       VT 11, P46 (Vt. 2009).
                     relied on by the defrauded     reliance upon the                                                                                                        for negligent
                     party to his damage.”          information, if the                                                                                                      misrepresentation.         Damages for both may
                                                    representer (5) fails to                                                                                                                            be calculated by either
                     Bennington Hous. Auth. v.      exercise reasonable care or                                                                                              Hughes v. Holt, 140 Vt.    the out of pocket loss
                     Bush, 933 A.2d 207, 210-       competence in obtaining or                                                                                               38, 41 (Vt. 1981).         rule or the benefit of
                     11 (Vt. 2007) (internal        communicating the                                                                                                                                   the bargain rule at the
                     citations omitted).            information.”                                                                                                                                       discretion of the court.

                                                    Limoge v. People’s Trust                                                                                                                            Kramer v. Chabot, 152
                                                    Co., 168 Vt. 265, 268 (Vt.                                                                                                                          Vt. 53, 57 (Vt. 1989).
                                                    1998).




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                                                    VARIATIONS IN STATE INTENTIONAL/NEGLIGENT MISREPRESENTATION LAWS

                           Intentional                     Negligent                                                                             Scienter                                                                   Other Defenses &
                                                                                                                  Reliance/Justifiable         Requirement             Standard of Proof              Damages &                 Features
   Jurisdiction         Misrepresentation              Misrepresentation             Statute of Limitations
                                                                                                                  Reliance/Causation                                   for Fraud Claims                Remedies
                            Elements                       Elements
VIRGINIA             “An action for fraud           “While Virginia does not       Two years after claim       Reasonable reliance is      The elements of            “Fraud, whether actual     Punitive damages for
                     requires a showing that        recognize a claim for          accrues.                    necessary.                  constructive fraud are     or constructive, must be   common law fraud are
                     there was a false              negligent                                                                              identical to that of a     proved by clear and        available after a
                     representation of a material   misrepresentation, it          Va. Code Ann. § 8.01-243.   Beck v. Smith, 538 S.E.2d   claim for actual fraud,    convincing evidence.”      showing of actual
                     fact, made intentionally and   appears that AEI is                                        312, 315 (Va. 2000).        except for the intent                                 malice.
                     knowingly with the intent to   asserting a claim for                                                                  element. For               Economopoulos v.
                     mislead, and relied upon by    constructive fraud under                                                               constructive fraud, a      Kolaitis, 528 S.E.2d       Actual malice “has
                     the party misled to his        Virginia law.The elements                                                              representation need        714, 719 (Va. 2000).       been defined as "ill
                     detriment.”                    of constructive fraud are                                                              only be made                                          will, malevolence,
                                                    identical to that of a claim                                                           innocently or                                         grudge, spite, wicked
                     Beck v. Smith, 538 S.E.2d      for actual fraud, except for                                                           negligently, rather than                              intention, or a
                     312, 315 (Va. 2000).           the intent element. For                                                                intentionally and                                     conscious disregard of
                                                    constructive fraud, a                                                                  knowingly.                                            the rights of another.”
                     “Concealment of a material     representation need only be
                     fact may constitute the        made innocently or                                                                     Design & Prod. v. Am.                                 Adkins v. Crown Auto,
                     element of                     negligently, rather than                                                               Exhibitions, Inc., 2011                               Inc., 488 F.3d 225, 234
                     misrepresentation.” Id.        intentionally and                                                                      U.S. Dist. LEXIS                                      (4th Cir. Va. 2007).
                                                    knowingly.”                                                                            128370 (E.D. Va. Sept.
                                                                                                                                           16, 2011).                                            Generally, a person
                                                    Design & Prod. v. Am.                                                                                                                        who acquired property
                                                    Exhibitions, Inc., 2011 U.S.                                                                                                                 by virtue of a
                                                    Dist. LEXIS 128370 (E.D.                                                                                                                     commercial transaction
                                                    Va. Sept. 16, 2011).                                                                                                                         and who has been
                                                                                                                                                                                                 defrauded by false
                                                    “Constructive fraud                                                                                                                          representations is
                                                    requires that a false                                                                                                                        entitled to recover as
                                                    representation of a material                                                                                                                 damages the difference
                                                    fact was made innocently                                                                                                                     between the actual
                                                    or negligently, and the                                                                                                                      value of the property at
                                                    injured party was damaged                                                                                                                    the time the contract
                                                    as a result of reliance upon                                                                                                                 was made and the value
                                                    the misrepresentation.”                                                                                                                      that the property would
                                                                                                                                                                                                 have possessed had the
                                                    Poth v. Russey, 281 F.                                                                                                                       representation been
                                                    Supp. 2d 814, 824 (E.D.                                                                                                                      true.
                                                    Va. 2003).
                                                                                                                                                                                                 Carstensen v.
                                                                                                                                                                                                 Chrisland Corp., 442
                                                                                                                                                                                                 S.E.2d 660, 666-67
                                                                                                                                                                                                 (1994).



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                                                      VARIATIONS IN STATE INTENTIONAL/NEGLIGENT MISREPRESENTATION LAWS

                           Intentional                       Negligent                                                                                   Scienter                                                                   Other Defenses &
                                                                                                                      Reliance/Justifiable             Requirement              Standard of Proof             Damages &                 Features
   Jurisdiction         Misrepresentation                Misrepresentation            Statute of Limitations
                                                                                                                      Reliance/Causation                                        for Fraud Claims               Remedies
                            Elements                         Elements
WASHINGTON           “To establish fraud, a           “To establish negligent       Three years after discovery.   Justifiable reliance required   Representer must have       Each element of           “Washington law does
                     litigant must show: (1) a        misrepresentation, a                                         for both.                       either know the falsity     fraudulent concealment    not provide for punitive
                     representation of an existing    plaintiff must show by        Wash. Rev. Code Ann. §                                         of the statement or was     must be established by    damages because such
                     fact, (2) its materiality, (3)   clear, cogent, and            4.16.080.                      Ross v. Kirner, 162 Wn.2d       ignorant of its truth and   clear, cogent, and        damages are contrary to
                     its falsity, (4) the speaker's   convincing evidence that                                     493, 499 (Wash. 2007).          made the statement to       convincing evidence.      public policy.”
                     knowledge of its falsity or      the defendant negligently                                                                    induce reliance for
                     ignorance of its truth, (5)      supplied false information                                   Cedell v. Farmers Ins. Co.,     intentional                 Stieneke v. Russi, 190    Bau v. Interlay Citizens
                     [the speaker's] intent that      the defendant knew, or                                       237 P.3d 309, 314-15 (Wash.     misrepresentation.          P.3d 60, 61 (Wash. Ct.    Bank of Tampa, 96
                     [the fact] should be acted       should have known, would                                     Ct. App. 2010).                                             App. 2008).               Wn.2d 692, 635 (1982).
                     upon by the person to whom       guide the plaintiff in                                                                       Cedell v. Farmers Ins.
                     it is made, (6) ignorance of     making a business decision,                                                                  Co., 237 P.3d 309, 314-     Preponderance for         Damages for both may
                     [the fact's] falsity on the      and that the plaintiff                                                                       15 (Wash. Ct. App.          negligence.               be calculated by either
                     part of the person to whom       justifiably relied on the                                                                    2010).                                                the out of pocket loss
                     it is made, (7) the latter's     false information.”                                                                                                      Enrico v. National Med.   rule or the benefit of
                     reliance on the truth of the                                                                                                                              Staffing, 1998 Wash.      the bargain rule at the
                     representation, (8) [the right   Ross v. Kirner, 162 Wn.2d                                                                                                App. LEXIS 506            discretion of the court.
                     of the person] to rely on it,    493, 499 (Wash. 2007).                                                                                                   (Wash. Ct. App. Mar.
                     and (9) [the person's]                                                                                                                                    30, 1998).                J & J Food Ctrs. v.
                     consequent damage.”                                                                                                                                                                 Selig, 76 Wn.2d 304,
                                                                                                                                                                                                         310 (Wash. 1969).
                     Cedell v. Farmers Ins. Co.,
                     237 P.3d 309, 314-
                     15 (Wash. Ct. App. 2010)
                     (internal citation omitted).




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                                                     VARIATIONS IN STATE INTENTIONAL/NEGLIGENT MISREPRESENTATION LAWS

                           Intentional                      Negligent                                                                                        Scienter                                                                 Other Defenses &
                                                                                                                        Reliance/Justifiable               Requirement             Standard of Proof             Damages &                Features
   Jurisdiction         Misrepresentation               Misrepresentation             Statute of Limitations
                                                                                                                        Reliance/Causation                                         for Fraud Claims               Remedies
                            Elements                        Elements
WEST VIRGINIA        “The essential elements in      “[o]ne under a duty to give    Claims in tort for negligence,   Justifiable reliance needed for   “[I]t is elementary        Elements of fraud claim   A plaintiff who proves
                     an action for fraud are: (1)    information to another,        professional negligence, and     both.                             doctrine that a false      must be proved by clear   common-law fraud may
                     that the act claimed to be      who makes an erroneous         misrepresentation are                                              representation may be      and convincing            recover punitive
                     fraudulent was the act of the   statement when he has no       governed by a two-year           Ochala v. Dyncorp Int'l LLC,      made scienter, so as to    evidence.                 damages.
                     defendant or induced by         knowledge on the subject       statute of limitation.           2009 U.S. Dist. LEXIS             afford a right of action
                     him; (2) that it was material   and thereby misleads the                                        109108 (S.D. W. Va. Nov.          in damages, in             Bowling v. Ansted         Muzelak v. King
                     and false; that plaintiff       other to his injury, is as     Trafalgar House Constr., Inc.    23, 2009).                        contemplation of law,      Chrysler-Plymouth-        Chevrolet, 179 W. Va.
                     relied upon it and was          much liable in law as if he    v. ZMM Inc., 567 S.E.2d 294,                                       in any of the following    Dodge, Inc., 425 S.E.2d   340, 345 (W. Va.
                     justified under the             had intentionally stated a     299 (W. Va. 2002).                                                 ways: (1) with actual      144, 148 (W. Va.          1988).
                     circumstances in relying        falsehood.”                                                                                       knowledge of its           1992).
                     upon it; and (3) that he was                                                                                                      falsity; (2) without                                 “The measure of
                     damaged because he relied       Folio v. City of Clarksburg,                                                                      knowledge either of its    Preponderance for         damages is the
                     upon it.”                       221 W. Va. 397, 405 (W.                                                                           truth or falsity; or (3)   negligence.               difference between the
                                                     Va. 2007).                                                                                        under circumstances in                               value of the vehicle as
                     Trafalgar House Constr.,                                                                                                          which the person           Gariety v. Thornton,      warranted or
                     Inc. v. ZMM, Inc., 567                                                                                                            making it ought to have    2006 U.S. Dist. LEXIS     represented and the
                     S.E.2d 294, 300 (W.Va.                                                                                                            known if he did not        31296 (S.D. W. Va.        value of the vehicle in
                     2002).                                                                                                                            know of its falsity.”      Apr. 3, 2006).            its actual condition at
                                                                                                                                                                                                            the time of the
                                                                                                                                                       State v. Berkeley, 41 W.                             transaction, plus
                                                                                                                                                       Va. 455, 458 (W. Va.                                 incidental and
                                                                                                                                                       1985).                                               consequential
                                                                                                                                                                                                            damages.”

                                                                                                                                                                                                            Horan v. Turnpike
                                                                                                                                                                                                            Ford, 189 W. Va. 621,
                                                                                                                                                                                                            628 (W. Va. 1993).




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                                                       VARIATIONS IN STATE INTENTIONAL/NEGLIGENT MISREPRESENTATION LAWS

                           Intentional                        Negligent                                                                                     Scienter                                                                     Other Defenses &
                                                                                                                           Reliance/Justifiable           Requirement              Standard of Proof              Damages &                  Features
   Jurisdiction         Misrepresentation                 Misrepresentation               Statute of Limitations
                                                                                                                           Reliance/Causation                                      for Fraud Claims                Remedies
                            Elements                          Elements
WISCONSIN            “Fraudulent or intentional        “(1) a duty of care or a         Statute of limitations for an   Justifiable reliance is       For intentional             Under common law           “Punitive damages are
                     misrepresentation involves        voluntary assumption of a        action based on fraud is six    necessary for both.           misrepresentation the       regarding burdens of       recoverable in actions
                     the following elements: “(1)      duty on the part of the          years.                                                        defendant must have         proof, “intentional        based on fraud when
                     the defendant must have           defendant; (2) a breach of                                       Forst v. Smithkline Beecham   made the                    fraud cases are subject    the wrong was inflicted
                     made a representation of          the duty (which involves a       John Doe 1 v. Archdiocese of    Corp., 602 F. Supp. 2d 960,   misrepresentation with      to intermediate burden     under "circumstances
                     fact to the plaintiff; (2) the    failure to exercise ordinary     Milwaukee, 734 N.W.2d 827,      971 (E.D. Wis. 2009).         knowledge that it was       of ‘clear, satisfactory,   of aggravation, insult or
                     representation of fact must       care in making a                 829 (Wis. 2007).                                              false or recklessly         and convincing             cruelty, with
                     be false; and (3) the plaintiff   representation or in                                                                           without caring whether      evidence.’”                vindictiveness or
                     must have believed and            ascertaining the facts); (3) a                                                                 it was true or false; and                              malice.”
                     relied on the                     causal connection between                                                                      with the intent to          Tri-Tech Corp. of Am.
                     misrepresentation to his          the conduct and the injury;                                                                    induce reliance.            v. Americorp Servs.,       D. R. W. Corp. v.
                     detriment or damage . . . (4)     and (4) an actual loss or                                                                                                  Inc., 646 N.W.2d 822,      Cordes, 65 Wis. 2d
                     the defendant must have           damage as a result of the                                                                      Tietsworth v. Harley-       827 (Wis. 2002).           303, 310 (Wis. 1974).
                     made the misrepresentation        injury.”                                                                                       Davidson, Inc., 677
                     with knowledge that it was                                                                                                       N.W.2d 233, 239 (Wis.                                  The measure of
                     false or recklessly without       Green Spring Farms v.                                                                          2004).                                                 damages for fraudulent
                     caring whether it was true or     Kersten, 136 Wis. 2d 304,                                                                                                                             misrepresentation is the
                     false; and (5) the defendant      319 (Wis. 1987).                                                                                                                                      benefit of the bargain
                     must have made the                                                                                                                                                                      rule, but for negligent
                     misrepresentation with                                                                                                                                                                  misrepresentation the
                     intent to deceive and to                                                                                                                                                                out-of-pocket damage
                     induce the plaintiff to act on                                                                                                                                                          rule applies.
                     it to his detriment or
                     damage.”                                                                                                                                                                                Smith v. Katz, 226 Wis.
                                                                                                                                                                                                             2d 798, 813 (Wis.
                     Tietsworth v. Harley-                                                                                                                                                                   1999).
                     Davidson, Inc., 677 N.W.2d
                     233, 239 (Wis. 2004).




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                                                    VARIATIONS IN STATE INTENTIONAL/NEGLIGENT MISREPRESENTATION LAWS

                           Intentional                     Negligent                                                                                   Scienter                                                                    Other Defenses &
                                                                                                                   Reliance/Justifiable              Requirement             Standard of Proof             Damages &                   Features
   Jurisdiction         Misrepresentation              Misrepresentation               Statute of Limitations
                                                                                                                   Reliance/Causation                                        for Fraud Claims               Remedies
                            Elements                       Elements
WYOMING              “The elements of intentional   “The elements of a               Four years.                Justifiable reliance necessary   “In order to prove         “Fraud must be proven     “To prove punitive
                     misrepresentation or fraud     negligent misrepresentation                                 for both.                        intentional                by clear and convincing   damages, an insured
                     are as follows: (1) the        claim are: (1) false             Wyo. Stat. Ann. § 1-3-                                      misrepresentation, the     evidence, as opposed to   must prove that the
                     defendant made a false         information supplied in the      105(a)(iv).                Verschoor v. Mountain W.         plaintiff must show that   by a preponderance of     insurer acted with
                     representation intended to     course of one's business for                                Farm Bureau Mut. Ins. Co.,       the misrepresentation      the evidence for          ‘something more’ than
                     induce action by the           the guidance of others in                                   907 F.2d 1293, 1299 (Wyo.        was made intentionally,    negligent                 bad faith: his
                     plaintiff; (2) the plaintiff   their business; (2) failure to                              1995).                           with knowledge of its      misrepresentation         culpability must rise to
                     reasonably believed the        exercise reasonable care in                                                                  falsity, or that the       claims.”                  the level of willful and
                     representation to be true;     relating the information;                                   Excel Constr., Inc. v. HKM       maker of the                                         wanton misconduct. An
                     and (3) the plaintiff relied   and (3) pecuniary loss                                      Eng’g, Inc., 228 P.3d 40, 48-    misrepresentation was      Excel Constr., Inc. v.    insurer must
                     on the false representation    resulting from justifiable                                  49 (Wyo. 2010).                  at least aware that he     HKM Eng’g, Inc., 228      intentionally breach his
                     and suffered damages. In       reliance thereon.”                                                                           did not have a basis for   P.3d 40, 43 (Wyo.         duty of good faith and
                     order to prove intentional                                                                                                  making the statement.”     2010).                    in addition must also be
                     misrepresentation, the         Verschoor v. Mountain W.                                                                                                                          guilty of oppression,
                     plaintiff must show that the   Farm Bureau Mut. Ins. Co.,                                                                   Furthermore, plaintiff                               fraud or malice.
                     misrepresentation was made     907 F.2d 1293, 1299 (Wyo.                                                                    must have intended to                                Additionally, punitive
                     intentionally, with            1995).                                                                                       induce reliance.                                     damages are
                     knowledge of its falsity, or                                                                                                                                                     appropriate when there
                     that the maker of the                                                                                                       Excel Constr., Inc. v.                               is an intent to do an act,
                     misrepresentation was at                                                                                                    HKM Eng’g, Inc., 228                                 or an intent to not do an
                     least aware that he did not                                                                                                 P.3d 40, 48-49 (Wyo.                                 act, in reckless
                     have a basis for making the                                                                                                 2010).                                               disregard of the
                     statement.”                                                                                                                                                                      consequences, and
                                                                                                                                                                                                      under such
                     Excel Constr., Inc. v. HKM                                                                                                                                                       circumstances and
                     Eng’g, Inc., 228 P.3d 40,                                                                                                                                                        conditions that a
                     48-49 (Wyo. 2010).                                                                                                                                                               reasonable person
                                                                                                                                                                                                      would know, or have
                                                                                                                                                                                                      reason to know, that
                                                                                                                                                                                                      such conduct would, in
                                                                                                                                                                                                      a high degree of
                                                                                                                                                                                                      probability, result in
                                                                                                                                                                                                      substantial harm to
                                                                                                                                                                                                      another.”
                                                                                                                                                                                                      Harper v. Gulf Ins. Co.,
                                                                                                                                                                                                      2002 U.S. Dist. LEXIS
                                                                                                                                                                                                      24492 (D. Wyo. Dec.
                                                                                                                                                                                                      20, 2002).




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